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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

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                                                               :
In re                                                          :   Chapter 11
                                                               :
TERRAFORM LABS PTE. LTD. et al.,                               :   Case No. 24–10070 (BLS)
                                                               :
                   Debtors.12                                  :
                                                               :
------------------------------------------------------------   x

                         CHAPTER 11 PLAN OF LIQUIDATION OF
                 TERRAFORM LABS PTE. LTD. AND TERRAFORM LABS LIMITED

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     Dated:           June 30, 2024
                      Wilmington, Delaware




1
     The Debtor’s principal office is located at 1 Wallich Street, #37-01, Guoco Tower, Singapore 078881.
2
     TLL is not currently a Debtor in chapter 11; however, TLL may be a Debtor and its Chapter 11 Case may be
     jointly administered with this Chapter 11 Case by the time the Plan is solicited. If TLL does not become a Debtor
     by such time, TFL will amend the Plan to include only TFL as a Debtor.
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                 Terraform Labs Pte. Ltd. and Terraform Labs Limited propose the following chapter 11
plan of liquidation pursuant to section 1121(a) of the Bankruptcy Code. Capitalized terms used herein shall
have the meanings set forth in Section 1.A.3

SECTION 1.      DEFINITIONS AND INTERPRETATION.

    A. Definitions.

                      1.1        “510(c) Subordinated Claim” means any Claim against the Debtors that
    has been determined by Final Order to be subject to equitable subordination pursuant to section 510(c)
    of the Bankruptcy Code. Any Claim that satisfies the definition of a 510(c) Subordinated Claim will
    be classified as such, and not in any other Class of Claims.

                    1.2          “Administrative Expense Claim” means any Claim for costs or expenses
    of administration incurred during the Chapter 11 Cases of a kind specified under sections 324, 328,
    330, 503(b), 507(a)(2), 507(b), or 1114(e)(2) of the Bankruptcy Code, including, without limitation, (i)
    the actual and necessary costs and expenses incurred after the Petition Date and through the Effective
    Date of preserving the Estates and operating the Debtors’ businesses; (ii) Fee Claims, and (iii) all
    Allowed Claims that are to be treated as Administrative Expense Claims pursuant to a final order of the
    Bankruptcy Court under section 546(c)(2)(A) of the Bankruptcy Code.

                    1.3          “Administrative Expense Claims Bar Date” means the date that is sixty
    (60) calendar days after the Effective Date.

                     1.4        “Advisory Board” means the board of advisors to the Liquidating Plan
    Administrator, which shall be appointed by the Creditors’ Committee in consultation with the Debtors.
    The identities of the members of the Advisory Board shall be disclosed in the Plan Supplement.

                    1.5           “Affiliate” has the meaning set forth in section 101(2) of the Bankruptcy
    Code.

                     1.6          “Allowed” means with respect to any Claim against or Interest in the
    Debtors, (i) any Claim or Interest arising on or before the Effective Date (a) as to which no objection
    to allowance has been interposed within the time period set forth in this Plan; (b) that is compromised,
    settled, or otherwise resolved pursuant to the authority of the Debtors, the Wind Down Estates, or the
    Plan Administrator, as applicable; or (c) as to which any objection has been determined by a Final
    Order of the Bankruptcy Court to the extent such objection is determined in favor of the respective
    holder, (ii) any Claim or Interest as to which the liability of the Debtors and the amount thereof are
    determined by a Final Order of a court of competent jurisdiction other than the Bankruptcy Court,
    (iii) any Claim or Interest expressly Allowed under this Plan, or (iv) any Claim that is listed in the
    Debtors’ Schedules as liquidated, non-contingent, and undisputed; provided, that, notwithstanding the
    foregoing, (x) unless expressly waived by the Plan, the Allowed amount of Claims shall be subject to,
    and shall not exceed the limitations or maximum amounts permitted by the Bankruptcy Code, including
    sections 502 or 503 of the Bankruptcy Code, to the extent applicable, and (y) the Debtors will retain all



3
    A number of provisions in this Plan remain subject to further comment and review by the SEC and the Creditors’
    Committee. The Debtors will coordinate with the SEC and Creditors’ Committee and will file an amended Plan
    prior to the hearing to approve the Disclosure Statement.
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claims and defenses with respect to Allowed Claims that are reinstated or otherwise unimpaired
pursuant to this Plan.

                 1.7         “Asset” means all of the rights, title, and interests of the Debtors in and to
property of whatever type or nature, including, without limitation, real, personal, mixed, intellectual,
tangible, and intangible property.

               1.8        “Assumption Dispute” means a pending objection relating to assumption
or assumption and assignment of an executory contract or unexpired lease pursuant to section 365 of
the Bankruptcy Code.

                  1.9          “Assumption Schedule” means the schedule of executory contracts and
unexpired leases to be either assumed by the Debtors or assumed by the Debtors and assigned to a
liquidating trust, if applicable. The Assumption Schedule shall be filed with the Plan Supplement, as
may be amended, modified, or supplemented from time to time.

               1.10         “Avoidance Actions” means any and all actual or potential Claims and
Causes of Action to avoid a transfer of property or an obligation incurred by the Debtors arising under
the Bankruptcy Code, including sections 502, 510, 542, 544, 545, 547, 548, 549, 550, 551, 552, and
553 of the Bankruptcy Code or under similar or related state or federal statutes and common law. For
the avoidance of doubt, nothing herein shall modify the terms of or the rights reserved under the
Dentons Retention Order.

                 1.11        “Ballot” means each of the ballots distributed to the holders of Impaired
Claims entitled to vote on the Plan.

                  1.12       “Bankruptcy Code” means title 11 of the United States Code, 11 U.S.C.
§§ 101, et seq., as amended from time to time, as applicable to the Chapter 11 Cases.

                 1.13        “Bankruptcy Court” means the United States Bankruptcy Court for the
District of Delaware having jurisdiction over the Chapter 11 Cases and, to the extent of any reference
made under section 157 of title 28 of the United States Code, the unit of such District Court having
jurisdiction over the Chapter 11 Cases under section 151 of title 28 of the United States Code.

                1.14        “Bankruptcy Rules” means the Federal Rules of Bankruptcy Procedure
as promulgated by the United States Supreme Court under section 2075 of title 28 of the United States
Code and any Local Bankruptcy Rules of the Bankruptcy Court, in each case, as amended from time to
time and applicable to the Chapter 11 Cases.

                 1.15         “Bar Date Order” means that certain Order (I) Establishing a General
Bar Date to File Proofs of Claim, (II) Establishing a Bar Date to File Proofs of Claim By Governmental
Units, (III) Establishing an Amended Schedules Bar Date, (IV) Establishing a Rejection Damages Bar
Date, (V) Approving the Form and Manner for Filing Proofs of Claim, (VI) Approving the Proposed
Notice of Bar Dates, and (VII) Granting Related Relief [Docket No. _].

                1.16       “Beltran Action” means the litigation captioned as Julian Moreno Beltran
& 9 Ors v Terraform Labs Pte. Ltd & 2 Ors, SIC/OA 3/2024 pending in the High Court of the Republic
of Singapore.

                1.17        “Beltran Allowed Secured Claims” means Claims asserted against TFL
in the Beltran Action Allowed either (i) pursuant to a settlement with TFL and/or the Liquidating Plan



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Administrator or (ii) as determined by Final Order of the courts of the Republic of Singapore, in each
case up to the amount of the Beltran Escrow Deposit; provided, however, that (a) to the extent the
Bankruptcy Court determines that claims asserted against TFL in the Beltran Action are not Secured
Claims, such Claims shall not be Beltran Allowed Secured Claims but shall be Crypto Loss Claims and
(b) any portion of any Allowed Claim asserted against TFL in the Beltran Action that exceeds its
allocated portion of the Beltran Escrow Deposit shall be treated as an Allowed Crypto Loss Claim.

                1.18        “Beltran Escrow Deposit” means the funds deposited into a Singapore
escrow account, totaling approximately $56.9 million, as required by order of the High Court of the
Republic of Singapore in the Beltran Action as security against judgment pending the outcome of the
Beltran Action.

                 1.19         “Board of Directors” means the board of directors of the Debtors.

                1.20       “Business Day” means any day other than a Saturday, a Sunday or any
other day on which banking institutions in New York, New York are required or authorized to close by
law or executive order.

                 1.21         “Cash” means legal tender of the United States of America.

                  1.22         “Cause of Action” means any action, Claim, cross-claim, third-party
claim, cause of action, controversy, dispute, demand, right, lien, indemnity, contribution, guaranty, suit,
obligation, liability, loss, debt, fee or expense, damage, interest, judgment, cost, account, defense,
remedy, offset, power, privilege, proceeding, license, and franchise of any kind or character
whatsoever, known or unknown, foreseen or unforeseen, existing or hereafter arising, contingent or
non-contingent, matured or unmatured, suspected or unsuspected, liquidated or unliquidated, disputed
or undisputed, secured or unsecured, assertable directly or derivatively, whether arising before, on, or
after the Petition Date, in contract or in tort, in law or in equity, or pursuant to any other theory of law
(including, without limitation, under any state or federal securities laws). Cause of Action also includes
(a) any right of setoff, counterclaim, or recoupment and any claim for breach of contract or for breach
of duties imposed by law or in equity, (b) the right to object to Claims or Interests, (c) any claim
pursuant to section 362 or chapter 5 of the Bankruptcy Code or any other Avoidance Actions, (d) any
claim or defense including fraud, mistake, duress, and usury and any other defenses set forth in section
558 of the Bankruptcy Code, and (e) any claims under any state law or foreign law, including, without
limitation, any fraudulent transfer or similar claims.

                 1.23         “Chapter 11 Cases” means, with respect to a Debtor, such Debtor’s case
under chapter 11 of the Bankruptcy Code commenced on the Petition Date in the Bankruptcy Court,
jointly administered with all other Debtors’ cases under chapter 11 of the Bankruptcy Code.

                1.24        “Claim” has the meaning set forth in section 101(5) of the Bankruptcy
Code, as against any Debtor.

                 1.25       “Class” means any group of Claims or Interests classified as set forth in
Section 3 of the Plan pursuant to sections 1122 and 1123(a)(1) of the Bankruptcy Code.

               1.26           Confirmation” means the entry on the docket of the Chapter 11 Cases of
the Confirmation Order.

                1.27       “Confirmation Date” means the date on which the Bankruptcy Court
enters the Confirmation Order.



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                1.28       “Confirmation Hearing” means the hearing to be held by the Bankruptcy
Court regarding Confirmation of the Plan, as such hearing may be adjourned or continued from time to
time.

                1.29       “Confirmation Order” means an order of the Bankruptcy Court
confirming the Plan pursuant to section 1129 of the Bankruptcy Code.

                1.30        “Contributed Third-Party Claims” means all direct Causes of Action that
any Contributing Claimant has against any Person (other than a Debtor) that had a direct relationship
with the Debtors, their predecessors, or respective Affiliates and that harmed such Contributing
Claimant in the claimant’s capacity as a creditor of the Debtors.

                 1.31        “Contributing Claimants” means any holders of Claims or Interests that
contribute their Contributed Third-Party Claims to the Wind Down Estates in accordance with Section
5.15 hereof.

                1.32       “Creditors’ Committee” means the statutory committee of unsecured
creditors appointed by the U.S. Trustee in the Chapter 11 Cases on February 29, 2024 pursuant to
section 1102 of the Bankruptcy Code.

                 1.33        “Crypto Loss Claim” means any Claim asserted against the Debtors
arising from (a) the purchase, sale, or rescission of the purchase or sale of Cryptocurrency, including
(i) Terra Crypto, (ii) any wrapped version on any blockchain of any Terra Crypto, (iii) any receipt or
derivative of any Terra Crypto, or (iv) any other Cryptocurrency that derives a value from Terra Crypto,
and (v) any other Cryptocurrency that was transacted or made available on the TerraLunaClassic and
TerraLuna blockchains, and (b) any reimbursement or contribution claims allowed under section 502
of the Bankruptcy Code on account of such claims.

                 1.34       “Crypto Loss Claim Bar Date” means a date to be established by the
Liquidating Plan Administrator upon motion and notice by which holders of Crypto Loss Claims arising
before the Petition Date must be asserted; provided that such date shall be no more than one hundred
twenty (120) calendar days after the Effective Date.

               1.35       “Crypto Loss Claim Pool” means any remaining funds in the GUC Pool
upon the General Unsecured Claim Payment Completion, plus the SEC Settlement Fund.

                 1.36        “Crypto Loss Claim Procedures” means the procedures pursuant to which
(i) holders of Crypto Loss Claims may assert such Claims, and (ii) the Liquidating Plan Administrator
would establish a general process and timeline for administering and determining the Allowed Claim
for each holder of a Crypto Loss Claim, which procedures shall be disclosed in the Plan Supplement.

                 1.37         “Cryptocurrency” means all digital assets that are traded on a blockchain,
broadly defined to include all types of digital assets, including virtual currency, tokens, ERC-20
compliant tokens, security tokens, utility tokens, stablecoins, and any other digital assets. This includes,
but is not limited to, Bitcoin, Bitcoin Cash, Ethereum (ETH), USD Coin, Tether (USDt), Dai, IDOL,
XRP, Cardano, Polkadot, Binance Coin, Litecoin, Chainlink, Stellar, Dogecoin, Aave, Uniswap,
Wrapped Bitcoin, Bitcoin SV, EOS, Monero, Maker, Cosmos, TRON, NEM, Synthetix, Tezos,
THETA, Compound, VeChain, Neo SushiSwap, Huobi Token, UMA, Elrond, IOTA, Solana, PYTH,
Luna (LUNA), Luna Classic (LUNC), Terra USD (UST), Avalanche (AVAX), Convex (CVX), OHM,
Governance OHM, and any other digital asset.




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                 1.38        “Cure Amount” means the payment of Cash or the distribution of other
property (as the parties may agree or the Bankruptcy Court may order) as necessary pursuant to section
365(b)(1)(A) of the Bankruptcy Code to permit the Debtor to assume such executory contract or
unexpired lease.

                1.39         “D&O Policy” means any insurance policy that covers, among others,
current or former directors, members, trustees, managers, and officers liability issued at any time to or
providing coverage to the Debtors and all agreements, documents or instruments relating thereto,
including any runoff policies or tail coverage.

                 1.40          “Debtors” means Terraform Labs Pte. Ltd. and Terraform Labs Limited,
in each case, solely in its capacity as a debtor in possession under the Bankruptcy Code.

                1.41       “Debtors in Possession” means the Debtors in their capacity as debtors in
possession in the Chapter 11 Cases pursuant to sections 1101, 1107(a), and 1108 of the Bankruptcy
Code.

                1.42        “Definitive Documents” means the documents that are necessary or
desirable to implement, or otherwise relate to, the implementation of the transactions contemplated
herein including, but not limited to: (i) the Plan; (ii) each of the documents comprising the Plan
Supplement; (iii) the Disclosure Statement; (iv) any motion seeking the approval of the adequacy of
the Disclosure Statement and solicitation of the Plan; (v) solicitation materials; and (vi) the
Confirmation Order.

                1.43         “Dentons” means Dentons US LLP.

                1.44        “Dentons Retention Order” means the Order Granting Application of
Debtor for Entry of an Order Authorizing the Retention and Employment of Dentons US LLP as Special
counsel to the Debtor and Debtor in Possession, Effective as of the Petition Date [Docket No. 177].

                1.45       “Disallowed” means with respect to any Claim or Interest, that such Claim
or Interest has been determined by a Final Order or specified in a provision of the Plan not to be
Allowed.

               1.46       “Disbursing Agent” means the Liquidating Plan Administrator or any
Person engaged by the Wind Down Estates or Liquidating Plan Administrator.

               1.47         “Disclosure Statement” means the disclosure statement filed by the
Debtors in support of the Plan, as approved by the Bankruptcy Court pursuant to section 1125 of the
Bankruptcy Code (as may be amended, supplemented, or modified from time to time).

                  1.48        “Disputed” means, with respect to any Claim or Interest, such Claim or
Interest that is not yet Allowed or Disallowed.

               1.49        “Distribution” means payment or distribution of consideration to holders
of Allowed Claims pursuant to this Plan.

                 1.50        “Distribution Record Date” means the Effective Date of the Plan or such
other date as determined by the Liquidating Plan Administrator.




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                 1.51         “Effective Date” means the date on which all conditions to the
effectiveness of the Plan set forth in Section 9 hereof have been satisfied or waived in accordance with
the terms of the Plan.

                 1.52         “Effective Date Available Cash” means Cash or cash equivalents on hand
as of the Effective Date, not including the (i) SEC Settlement Fund, (ii) the Fee Escrow Account, (iii)
Cash held in Restricted Accounts, and (iv) the amount of Cash necessary to fund or satisfy, as
applicable, each of (a) the Senior Claim Pool, (b) any Statutory Fees required to be paid in accordance
with the Bankruptcy Code, the Bankruptcy Rules or any order of the Bankruptcy Court, and (c) the
Wind Down Reserve.

                 1.53        “Entity” has the meaning set forth in section 101(15) of the Bankruptcy
Code.

                 1.54        “Estate or Estates” means, individually or collectively, the estate or
estates of the Debtors created under section 541 of the Bankruptcy Code.

                 1.55         “Exculpated Parties” means, collectively, solely to the extent that they are
Estate fiduciaries and in their capacities as such: (a) the Debtors; (b) the Board of Directors and each
of its members who served in such capacity on or after the Petition Date; (c) the Liquidating Plan
Administrator or Estate representative, as applicable; (d) the Creditors’ Committee and each of its
members, solely in their capacity as such; (e) with respect to each of the foregoing, each such Person’s
financial advisors, attorneys, accountants, investment bankers, consultants, experts, claims and noticing
agents, and other Professionals; (f) with respect to each of the foregoing, such Person’s officers and
directors, principals, members, and employees, in each case who served in such capacity on or after the
Petition Date (but for the avoidance of doubt, not TFL’s current or former shareholders); and (g) and
any other Person or Entity identified in the Schedule of Released and Exculpated Parties.

                1.56        “Fee Claim” means a Claim for professional services rendered or costs
incurred on or after the Petition Date through the Effective Date by Professionals retained by the
Debtors or the Creditors’ Committee pursuant to sections 327, 328, 329, 330, 331, 503(b) or 1103 of
the Bankruptcy Code in the Chapter 11 Cases.

                 1.57      “Fee Escrow Account” means the depository account established or
designated by the Debtor to be funded with Cash for payment of Fee Claims in accordance with the
terms of this Plan.

                  1.58        “Final Order” means an order or judgment of a court of competent
jurisdiction that has been entered on the docket maintained by the clerk of such court and is in full force
and effect, which has not been reversed, vacated, or stayed and as to which (a) the time to appeal,
petition for certiorari, or move for a new trial, reargument, or rehearing has expired and as to which no
appeal, petition for certiorari, or other proceedings for a new trial, reargument, or rehearing shall then
be pending, or (b) if an appeal, writ of certiorari, new trial, reargument, or rehearing thereof has been
sought, such order or judgment shall have been affirmed by the highest court to which such order was
appealed, or certiorari shall have been denied, or a new trial, reargument, or rehearing shall have been
denied or resulted in no modification of such order, and the time to take any further appeal, petition for
certiorari, or move for a new trial, reargument, or rehearing shall have expired; provided, however, that
no order or judgment shall fail to be a “Final Order” solely because of the possibility that a motion
under Rules 59 or 60 of the Federal Rules of Civil Procedure or any analogous Bankruptcy Rule (or
any analogous rules applicable in another court of competent jurisdiction) or sections 502(j) or 1144 of
the Bankruptcy Code has been or may be filed with respect to such order or judgment.


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                  1.59        “General Unsecured Claim” means any Claim against the Debtors (other
than any Intercompany Claims, Crypto Loss Claims, Claims subordinated pursuant to section 510(b),
and Section 510(c) Subordinated Claims) as of the Petition Date that is neither secured by collateral
nor entitled to priority under the Bankruptcy Code or any final order of the Bankruptcy Court.

               1.60       “General Unsecured Claim Payment Completion” means the time at
which all Allowed General Unsecured Claims are indefeasibly paid in full in Cash and there are no
Disputed General Unsecured Claims.

              1.61            “Governmental Unit” has the meaning set forth in section 101(27) of the
Bankruptcy Code.

                 1.62       “GUC Pool” means the Cash pool established pursuant to this Plan for
distribution to holders of Allowed General Unsecured Claims, which shall be funded, (i) on the
Effective Date, with Effective Date Available Cash and, (ii) after the Effective Date, with (a) Post-
Effective Date Cash, (b) any Surplus Reserved Cash, and (c) any Surplus Senior Claim Pool cash, in
each case in accordance with the Waterfall. Upon the General Unsecured Claim Payment Completion,
the funds in the GUC Pool shall be released to the Crypto Loss Claim Pool.

                 1.63        “Impaired” means, with respect to a Claim, Interest or Class of Claims or
Interests, “impaired” within the meaning of section 1124 of the Bankruptcy Code.

              1.64        “Insider” means an “insider” (as defined in section 101(31) of the
Bankruptcy Code) of the Debtors.

               1.65         “Intercompany Claim” means a Claim against any Debtor by another
Debtor or non-Debtor Affiliate of such other Debtor.

                   1.66       “Intercompany Interest” means an Interest in a Debtor other than a TFL
Equity Interest.

                  1.67         “Interest” means any equity security (as defined in section 101(16) of the
Bankruptcy Code) of a Debtor, including all shares, common stock, or other instrument evidencing any
fixed or contingent ownership interest in any Debtor, whether or not transferable, and any option,
warrant, or other right, contractual or otherwise, to acquire any such interest in the Debtors, whether
fully vested or vesting in the future, including, without limitation, equity or equity-based incentives,
grants, or other instruments issued, granted or promised to be granted to current or former employees,
directors, officers, or contractors of the Debtors, to acquire any such interests in the Debtors that existed
immediately before the Effective Date.

                   1.68       “LFG” means Luna Foundation Guard Ltd.

               1.69        “LFG Amount” means the amount of funds transferred by LFG to the
Debtors pursuant to the SEC Settlement.

                   1.70       “Lien” has the meaning set forth in section 101(37) of the Bankruptcy
Code.

                1.71        “Liquidating Plan Administrator” means the Person or entity selected by
the Creditors’ Committee, subject to the consent of the SEC and the Debtors, who, (i) in the event that
the Wind Down Estates does not take the form of a liquidating trust, is charged with overseeing the



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tasks outlined in Section 5.4 of this Plan, or (ii) in the event that the Wind Down Estates takes the form
of a liquidating trust, is the liquidating trustee.

               1.72        “Ordinary Course Professionals Order” means the Order Authorizing
Debtor to Employ Professionals Used in Ordinary Course of Business [Docket No. 206].

              1.73           “Other Secured Claim” means a Secured Claim other than a Beltran
Allowed Secured Claim.

                 1.74       “Person” means an individual, corporation, partnership, joint venture,
association, joint stock company, limited liability company, limited liability partnership, trust, estate,
unincorporated organization, Governmental Unit or other Entity.

             1.75        “Petition Date” means, with respect to a Debtor, the date on which such
Debtor commenced its Chapter 11 Case.

                1.76      “Plan” means this chapter 11 plan, including the exhibits hereto and the
Plan Supplement, as the same may be amended or modified from time to time in accordance with
Section 12.4 herein.

                 1.77         “Plan Supplement” means a supplemental appendix to the Plan
containing, among other things, forms or term sheets of applicable documents, schedules and exhibits
to the Plan to be filed with the Court, the following: (a) the Assumption Schedule, (b) the Schedule of
Retained Causes of Action, (c) the Wind Down Budget, (d) the identity of the Liquidating Plan
Administrator, (e) a Wind Down Agreement, (f) the identity of the Advisory Board, (g) the Crypto Loss
Claim Procedures, and (h) information required to be disclosed in accordance with section 1129(a)(5)
of the Bankruptcy Code. Through the Effective Date, the Debtors shall have the right to amend any
documents contained in, and exhibits to, any Plan Supplement document subject to the requirements of
Section 12.4 of the Plan.

                  1.78        “Post-Effective Date Cash” means any Cash received by the Wind Down
Estates after the Effective Date, including (i) Cash in Restricted Accounts, to the extent the Debtors or
Wind Down Estates gain access to such accounts, and (ii) the proceeds from the sale of any or all Estate
assets, including, but not limited to Cryptocurrency, Proximity, and the Venture Investments, and any
other non-Cash assets of the Debtors that may become Cash, including proceeds from the Estate Causes
of Action.

                1.79         “Prerequisite Condition” has the meaning set forth in Section 9.1 hereof.

               1.80         “Priority Non-Tax Claim” means any Claim other than an Administrative
Expense Claim or a Priority Tax Claim entitled to priority in payment as specified in section 507(a) of
the Bankruptcy Code.

                 1.81       “Priority Tax Claim” means any secured or unsecured Claim of a
Governmental Unit of the kind entitled to priority in payment as specified in sections 502(i) and
507(a)(8) of the Bankruptcy Code.

                 1.82        “Private Wallet Crypto Holder” means a Token Holder with Tokens held
in wallets or accounts owned or controlled by such Token Holder which are no longer readily accessible
through the Debtors’ applications or protocols as a result of the Debtors’ Wind Down. For the
avoidance of doubt, to the extent such Tokens have not been withdrawn by the applicable Private Wallet



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Crypto Holder by the Private Wallet Crypto Holder Bar Date and are accessible to the Debtors after the
Private Wallet Crypto Holder Bar Date, such Tokens shall be deemed property of the Estates.

                1.83         “Private Wallet Crypto Holder Bar Date” means the date that is thirty
(30) calendar days after the Effective Date.

                 1.84       “Professionals” means financial advisors, attorneys, accountants,
actuaries, investment bankers, consultants and other professionals.

                 1.85        “Pro Rata” means the proportion that an Allowed Claim in a particular
Class bears to the aggregate amount of Allowed Claims and Disputed Claims in that Class.

               1.86           “Proof of Claim” means a proof of Claim filed against the Debtors in the
Chapter 11 Cases.

                 1.87         “Proximity” means Proximity Panorama, LDA.

                 1.88         “Quarterly Fees” has the meaning set forth in Section 12.1 hereof.

                 1.89           “Released Claims” means claims, counterclaims, disputes, interests,
obligations, rights, suits, damages, Causes of Action, Avoidance Actions, obligations, debts, Liens,
suits, judgments, demands, losses, remedies, and liabilities whatsoever, including any derivative
claims, asserted by or assertable on behalf of any of the Debtors, their Estates, the Wind Down Estates
and the Liquidating Plan Administrator, as may be applicable, or any Estate representative appointed
or selected pursuant to section 1123(b)(3) of the Bankruptcy Code, as may be applicable, whether
arising prepetition or postpetition, known or unknown, foreseen or unforeseen, matured or unmatured,
liquidated or unliquidated, fixed or contingent, accrued or unaccrued, existing or hereafter arising, in
law, equity, contract, tort, or otherwise, whether arising under federal or state statutory or common law,
or any other applicable international, foreign, or domestic law, rule, statute, regulation, treaty, right,
duty, requirement or otherwise, that such Person or its estate, heirs, executors, administrators,
successors, assigns, managers, accountants, attorneys, representatives, consultants, agents, and any
other Persons claiming under or through them would have been legally entitled to assert in their own
right (whether individually or collectively) or on behalf of the Holder of any Claim against, or Interest
in, the Debtors or other Person or Entity, or that any Holder of any Claim against, or Interest in, a
Debtor or other Entity could have asserted on behalf of the Debtors, based on or relating to, or in any
manner arising from, in whole or in part, the Chapter 11 Case, the defense of the SEC Enforcement
Action and the investigation that preceded it, the defense of civil claims brought against the Debtors
that have been dismissed, the defense of pending criminal proceedings against, and investigations into,
the Debtors, the Debtors’ in -court restructuring efforts, post-petition intercompany transactions
approved by the Bankruptcy Court subject to the terms thereof, the formulation, preparation,
dissemination, solicitation, negotiation, entry into, or filing of, as applicable, the Disclosure Statement,
the Plan (including, for the avoidance of doubt, any Plan Supplement), the SEC Settlement, the
Definitive Documents, or any restructuring transaction, contract, instrument, release, or other
agreement or document created or entered into in connection with the foregoing (including, for the
avoidance of doubt, providing any legal opinion requested by any Entity regarding any transaction,
contract, instrument, document, or other agreement contemplated by the Plan or the reliance by any
Released Party on the Plan or the Confirmation Order in lieu of such legal opinion), the preparation for
and filing of the Chapter 11 Cases, the pursuit of Confirmation, the pursuit or consummation of any
sale transactions during the Chapter 11 Cases, the administration and implementation of the Wind
Down, the pursuit of Consummation, the administration and implementation of the Plan, including the
distribution of property under the Plan or any other related agreement, or upon any other related act, or


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    omission, transaction, agreement, event, or other occurrence, including those used to effectuate
    payment of fees and legal expenses and related vendors, related or relating to the Chapter 11 Cases,
    the defense of the SEC Enforcement Action and the investigation that preceded it, the defense of civil
    claims brought against TFL that have been dismissed, and the pending criminal proceedings and
    investigations taking place on or before the Effective Date (in each case, whether prepetition or
    postpetition). Released Claims shall also include all Avoidance Actions involving transactions used to
    effectuate payment of fees or legal fees and related vendors related or relating to the Chapter 11 Cases,
    the defense of the SEC Enforcement Action and the investigation that preceded it, the defense of civil
    claims brought against TFL that have been dismissed, and the pending criminal proceedings and
    investigations. For the avoidance of doubt, nothing herein shall modify the terms of or the rights
    reserved under the Dentons Retention Order.

                     1.90        “Released Parties” means, collectively: [(a) John Dubel, Russ Nelms and
    Ben Thong, each in their capacity as members of the Board of Directors; (b) the Liquidating Plan
    Administrator or Estate representative, as applicable; (c) the Creditors’ Committee and each of its
    members, solely in their capacity as such; (d) with respect to the Debtors and each of the foregoing,
    each such Person’s financial advisors, attorneys, accountants, investment bankers, consultants, experts,
    and other Professionals; provided that to, to the extent set forth in solely Sections 1.10, 1.89, and 10.6,
    Dentons shall not be a Released Party; (e) with respect to each of the foregoing, such Person’s officers
    and directors, principals, members, and employees, in each case who served in such capacity on or after
    the Petition Date (but for the avoidance of doubt, not TFL’s current or former shareholders); and (f)
    any other Person or Entity identified in the Schedule of Released and Exculpated Parties.]4

                    1.91         “Restricted Accounts” means certain TFL bank accounts and investment
    accounts located outside the United States, to which the Debtors’ access has been restricted.

                    1.92        “Schedules” means the schedules of assets and liabilities and the
    statements of financial affairs filed by the Debtors under section 521 of the Bankruptcy Code,
    Bankruptcy Rule 1007, and the Official Bankruptcy Forms of the Bankruptcy Rules, as such schedules
    and statements have been or may be supplemented or amended from time to time.

                    1.93          “Schedule of Retained Causes of Action” means the schedule of certain
    Causes of Action of the Debtor that are not released, waived, or transferred pursuant to the Plan, which
    may include categories of Causes of Actions and potential defendants and shall be included in the Plan
    Supplement, as the same may be amended, modified, or supplemented from time to time. For the
    avoidance of doubt, nothing herein in intended to limit the Wind Down Estates’ or the Liquidating Plan
    Administrator’s ability to retain Causes of Action.

                      1.94         “Schedule of Released and Exculpated Parties” means the schedule of
    current or former officers, directors, managers, employees, Professionals, or other agents of the Debtor
    agreed by the Debtors, the SEC, and the Creditors’ Committee to be Released Parties and Exculpated
    Parties, to the extent not included in the definition of Released Parties. The Schedule of Released and
    Exculpated Parties shall be filed with the Plan Supplement, as the same may be amended, modified, or
    supplemented from time to time.

                     1.95         “SEC” means the Securities and Exchange Commission.

                  1.96        “SEC Claim” means the Claim, as determined by the Final Judgment
    Against Defendants Terraform Labs Pte. Ltd. and Do Hyeong Kwon entered by the United States

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    Released Parties under the Plan are subject to ongoing discussion with the Creditors’ Committee.



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District Court for the Southern District of New York in the SEC Enforcement Action at Docket No.
273, by the SEC against TFL pursuant to the SEC Settlement fixing TFL’s civil penalty and
disgorgement, including prejudgment interest, to $4,473,828,306 in total aggregate amount.

                1.97         “SEC Enforcement Action” means the litigation captioned as SEC v.
Terraform Labs Pte. Ltd., et al., Case No. 1:23-cv-013460-JSR pending in the United States District
Court for the Southern District of New York.

                  1.98       “SEC Settlement” means the settlement of the SEC Claim between the
Debtor and the SEC, the terms of which are set forth in the Consent of Defendant Terraform Labs Pte.
Ltd., filed in the SEC Enforcement Action at Docket No. 271-1.

                 1.99       “SEC Settlement Fund” means, pursuant to the terms of the SEC
Settlement and the Final Judgment Against Defendants Terraform Labs Pte. Ltd. and Do Hyeong Kwon
in the SEC Enforcement Action, filed at Docket No. 273, (a) as of the Effective Date, $7,000,000 in
Cash transferred to the Wind Down Estates by Do Hyeong Kwon, plus such other funds, Cash, cash
equivalents, Tokens, or other Assets that Do Hyeong Kwon transfers to the Wind Down Estates, plus
the LFG Amount, and (b) after the Effective Date, such other funds, Cash, cash equivalents, or other
Assets, that Mr. Kwon transfers to the Wind Down Estates, comprising the balance outstanding of the
$204,320,196 monetary judgment against Mr. Kwon. After the Effective Date, the SEC Settlement
Fund shall be converted to Cash, to the extent applicable, and reserved for distribution solely to holders
of Allowed Crypto Loss Claims.

                 1.100       “Secured Claim” means a Claim (a) secured by a Lien on collateral to the
extent of the value of such collateral as (i) set forth in this Plan, (ii) agreed to by the holder of such
Claim and the Debtors, or (iii) determined by a Final Order in accordance with section 506(a) of the
Bankruptcy Code; or (b) secured by the amount of any right of setoff of the holder thereof in accordance
with section 553 of the Bankruptcy Code.

               1.101       “Senior Claim” means any Administrative Claim, Priority Tax Claim,
Priority Non-Tax Claim, and Other Secured Claim.

                1.102        “Senior Claim Pool” means the Cash pool established pursuant to this
Plan, containing on the Effective Date, the amount of Cash estimated by the Debtors to be necessary to
pay holders of Allowed Senior Claims, plus to the total Disputed amounts of such Claims until final
Allowance or Disallowance.

                1.103        “Single Share” has the meaning set forth in Section 4.10(b) hereof.

                 1.104       “Statutory Fees” means all fees and charges assessed against the Estates
pursuant to sections 1911 through 1930 of chapter 123 of title 28 of the United States Code.

                1.105        “Subsequent Condition” has the meaning set forth in Section 9.1 hereof.

                1.106        “Surplus Reserved Cash” means a surplus in funding of the Wind Down
Reserve as may be released from the Wind Down Reserve by the Liquidating Plan Administrator from
time to time pursuant to Section 5.4 of the Plan.

                1.107       “Surplus Senior Claim Pool Cash” means a surplus in the funding of the
Senior Claim Pool as may be released from the Senior Claim Pool by the Liquidating Plan
Administrator from time to time pursuant to Section 5.4 of the Plan.



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                 1.108        “Tax Code” means the Internal Revenue Code of 1986, as amended.

                1.109       Terra Crypto” means any Cryptocurrency issued, created, generated,
minted, promoted by or otherwise associated with the Company and its Affiliates, the Terra Ecosystem,
or any decentralized or centralized application or protocol on the TerraLunaClassic and TerraLuna
blockchains, including Anchor (ANC), Bonded Assets (bLUNA and bETH), Mirror (MIR), Mirror
Assets (mAssets), TerraLunaClassic (LUNC), Wrapped Luna (wLUNA), TerraClassicUSD (USTC),
TerraLuna (LUNA), and Liquidity Pool (LP) tokens on TerraLunaClassic and TerraLuna decentralized
exchanges.

                 1.110        “Terra Ecosystem” is defined as including, but not limited, to the projects,
applications, and protocols listed on Debtors’ website (https://www.terra.money/ecosystem) as of June
30,       2024      and        the     projects,      applications,      and       protocols        listed
on      Debtors’    website      as    of     May      2022      from    the     Wayback         Machine
(https://web.archive.org/web/20220510182304/https://www.terra.money/ecosystem).

                 1.111        “TFL” means Terraform Labs Pte. Ltd.

                1.112       “TFL Equity Interest” means, all Interests in TFL, including TFL Stock
and any options, warrants or rights to acquire any such Interests.

                 1.113        “TFL Stock” means, all shares of TFL.

                 1.114        “TLL” means Terraform Labs Limited, a British Virgin Islands entity.

                 1.115        “Token” means a unit of Cryptocurrency.

                 1.116        “Token Holder” means a holder of Tokens.

                  1.117       “Unimpaired” means, with respect to a Claim, Interest or Class of Claims
or Interests, not “impaired” within the meaning of section 1123(a)(4) and 1124 of the Bankruptcy Code.

                 1.118        “U.S. Trustee” means the United States Trustee for the District of
Delaware.

               1.119        “Venture Investments” means the investment interests held by TFL and
TLL in third party funds, direct investments and other venture-related endeavors, as set forth in the
Debtors’ Schedules or otherwise.

                 1.120       “Waterfall” means the distribution of Post-Effective Date Cash, Surplus
Reserved Cash, and Surplus Senior Claim Pool Cash, (i) first, to fund any deficits in the Wind Down
Reserve, as determined in the sole discretion of the Liquidating Plan Administrator, (ii) second, to fund
any deficits in the Senior Claim Pool, as determined in the sole discretion of the Liquidating Plan
Administrator, and (iii) third, to fund the GUC Pool, until the General Unsecured Claim Payment
Completion.

                  1.121         “Wind Down” means, following the Effective Date, the process to (i) sell,
abandon, wind down, dissolve, liquidate, or distribute any remaining assets of the Debtors’ Estates and
(ii) resolve, terminate, or wind down any remaining liabilities of the Debtors’ Estates, in each case in
accordance with the Plan, including, if applicable, the transfer of all or part of the assets of the Debtors’
Estates to a liquidating trust.



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                     1.122        “Wind Down Agreement” means (i) to the extent the Wind Down Estates
    do not take the form of a liquidating trust, the form of agreement reasonably acceptable to the Creditors’
    Committee, substantially in the form included in the Plan Supplement, governing the Person or entity
    charged with overseeing the tasks outlined in Section 5.4 of this Plan, or (ii) to the extent the Wind
    Down Estates take the form of a liquidating trust, the form of liquidating trust agreement, substantially
    in the form included in the Plan Supplement (as it may be subsequently modified from time to time
    with the consent of the Advisory Board), governing the Wind Down Estates.

                     1.123      “Wind Down Amount” means the amount of Cash and cash equivalents
    sufficient to fund the Wind Down Budget until the Wind Down Completion Date, taking into account
    expected Post-Effective Date Cash.

                    1.124         “Wind Down Budget” means a budget setting forth the estimate of costs
    and expenses necessary to effectuate the Wind Down through the Wind Down Completion Date, which
    budget may, after the Effective Date, be amended, modified, or supplemented from time to time by the
    Liquidating Plan Administrator in its reasonable discretion.

                   1.125       “Wind Down Completion Date” means the date upon which all assets of
    the Wind Down Estates have been sold, abandoned, dissolved, liquidated, or otherwise disposed of,
    and all proceeds thereof or remaining assets of the Wind Down Estates have been distributed in
    accordance with the Plan.

                     1.126        “Wind Down Estates” means, the Debtors, or any successor thereto, by
    merger, consolidation or otherwise (which may be, among other things, a corporation, limited liability
    company or a liquidating trust) to Wind Down, dissolve, and liquidate the Estates or otherwise
    administer or distribute the proceeds of, any remaining assets in accordance with this Plan.

                     1.127        “Wind Down Reserve” means, the Cash reserve established pursuant to
    this Plan, consisting of the Wind Down Amount.

    B. Interpretation; Application of Definitions and Rules of Construction.

                 Unless otherwise specified, all section or exhibit references in the Plan are to the respective
section in, or exhibit to, the Plan, as the same may be amended, waived or modified from time to time. The
words “herein,” “hereof,” “hereto,” “hereunder,” and other words of similar import refer to the Plan as a
whole and not to any particular section, subsection or clause contained therein. The headings in the Plan
are for convenience of reference only and shall not limit or otherwise affect the provisions hereof. For
purposes herein: (1) in the appropriate context, each term, whether stated in the singular or the plural, shall
include both the singular and the plural, and pronouns stated in the masculine, feminine, or neuter gender
shall include the masculine, feminine, and the neuter gender; (2) any reference herein to a contract, lease,
instrument, release, indenture, or other agreement or document being in a particular form or on particular
terms and conditions means that the referenced document shall be substantially in that form or substantially
on those terms and conditions; (3) unless otherwise specified, all references herein to “Sections” are
references to Sections hereof or hereto; (4) the rules of construction set forth in section 102 of the
Bankruptcy Code shall apply; and (5) any term used in capitalized form herein that is not otherwise defined
but that is used in the Bankruptcy Code or the Bankruptcy Rules shall have the meaning assigned to that
term in the Bankruptcy Code or the Bankruptcy Rules, as the case may be.




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    C. Controlling Document.

                 In the event of an inconsistency between the Plan and any other document, the terms of the
Plan shall control. The provisions of the Plan and of the Confirmation Order shall be construed in a manner
consistent with each other so as to effect the purposes of each; provided that, if there is determined to be
any inconsistency between any Plan provision and any provision of the Confirmation Order that cannot be
so reconciled, then, solely to the extent of such inconsistency, the provisions of the Confirmation Order
shall govern and any such provision of the Confirmation Order shall be deemed a modification of the Plan
and shall control and take precedence.

SECTION 2.       ADMINISTRATIVE EXPENSE, PRIORITY CLAIMS, AND PRIVATE WALLET
                 CRYPTO HOLDERS.

                 2.1.    Administrative Expense Claims Bar Date.

                 Except as provided for herein or in any order of the Bankruptcy Court, and subject to
section 503(b)(1)(D) of the Bankruptcy Code, holders of Administrative Expense Claims (other than
holders of Administrative Expense Claims paid in the ordinary course of business, holders of
Administrative Expense Claims arising under section 1930 of chapter 123 of title 28 of the United States
Code, and holders of Fee Claims) must file and serve on the Debtors requests for payment of such
Administrative Expense Claims not already Allowed by a Final Order in accordance with the procedures
specified in the Confirmation Order on or before the Administrative Expense Claims Bar Date or be forever
barred, estopped, and enjoined from asserting such Claims against the Debtors or their assets or properties,
and such Claims shall be deemed discharged as of the Effective Date.

                 2.2.    Allowance of Administrative Expense Claims.

                An Administrative Expense Claim with respect to which a request for payment has been
properly and timely filed pursuant to Section 2.1 of this Plan shall become an Allowed Administrative
Expense Claim if no objection to such request is filed by the Liquidating Plan Administrator with the
Bankruptcy Court on or before one hundred twenty (120) days after the Effective Date, or on such later
date as may be fixed by the Bankruptcy Court. If an objection is timely filed, the Administrative Expense
Claim shall become an Allowed Administrative Expense Claim only to the extent allowed by Final Order
or such Claim is settled, compromised, or otherwise resolved by the Liquidating Plan Administrator
pursuant to Section 7.2 of the Plan.

                 2.3.    Payment of Allowed Administrative Expense Claims.

                  Except to the extent that a holder of an Allowed Administrative Expense Claim (other than
a Fee Claim) agrees to a different treatment, the holder of such Allowed Administrative Expense Claim
shall receive, on account of such Allowed Claim, Cash in an amount equal to the Allowed amount of such
Claim from the Senior Claim Pool, within thirty (30) days following the later to occur of (i) the Effective
Date and (ii) the date on which such Administrative Expense Claim shall become an Allowed Claim;
provided, however, that Allowed Administrative Expense Claims against any of the Debtors representing
liabilities incurred in the ordinary course of business by the Debtors, as debtors in possession, shall be paid
by the Liquidating Plan Administrator in the ordinary course of business, consistent with past practice and
in accordance with the terms and subject to the conditions of any orders or agreements governing,
instruments evidencing, or other documents establishing, such liabilities.




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                 2.4.    Fee Claims.

                           (a)      All entities seeking an award by the Bankruptcy Court of Fee Claims
(i) shall file their respective final applications for allowance of compensation for services rendered and
reimbursement of expenses incurred by the date that is sixty (60) days after the Effective Date, and (ii) shall
be paid in full, in Cash, in such amounts as are Allowed by the Bankruptcy Court or authorized to be paid
in accordance with the order(s) allowing any such postpetition, Estate-retained professional fee and expense
claim (A) upon the later of the Effective Date and the date upon which the order relating to any such
Allowed Fee Claim is entered or (B) upon such other terms as may be mutually agreed upon between the
holder of such an Allowed Fee Claim and the Debtor or the Liquidating Plan Administrator, as applicable.
The Liquidating Plan Administrator is authorized to pay compensation for services rendered or
reimbursement of expenses incurred after the Effective Date in the ordinary course and without the need
for Bankruptcy Court approval.

                       (b)    Prior to the Effective Date, the Debtors shall establish the Fee Escrow
Account and fund such account with an amount of Cash sufficient to pay all Fee Claims as determined by
Section 2.4(c) hereof.

                          (c)     At least three (3) business days prior to the Effective Date, holders of Fee
Claims shall provide a reasonable estimate of unpaid Fee Claims incurred in rendering services before the
Effective Date to the Debtor, and the Debtor shall separately escrow such estimated amounts in the Fee
Escrow Account (less any retainers) for the benefit of the holders of the Fee Claims until the fee applications
related thereto are resolved by Final Order or agreement of the parties. If a holder of a Fee Claim does not
provide an estimate, the Debtor may estimate the unpaid and unbilled reasonable and necessary fees and
out-of-pocket expenses of such holder of a Fee Claim. When all such Allowed Fee Claims have been paid
in full, any remaining amount in such escrow shall promptly be released from such escrow and revert to,
and ownership thereof shall vest in, the Wind Down Estates and the Liquidating Plan Administrator without
any further action or order of the Bankruptcy Court, shall be deemed Post-Effective Date Cash, and may,
for the avoidance of doubt, be used to administer the Wind Down Estates subject to and in accordance with
the Wind Down Budget.

                         (d)     Funds held in the Fee Escrow Account shall not be considered property of
the Debtors’ Estates or property of the Wind Down Estates, but shall revert to the Wind Down Estates and
be deemed Post-Effective Date Cash, in accordance with Section 2.4(c), only after all Fee Claims Allowed
by the Bankruptcy Court have been irrevocably paid in full. The Fee Escrow Account shall be held in trust
for Estate-retained professionals and for no other parties until all Fee Claims Allowed by the Bankruptcy
Court have been paid in full.

                 2.5.    Priority Tax Claims.

                 Except to the extent that a holder of an Allowed Priority Tax Claim agrees to less favorable
treatment, each holder of an Allowed Priority Tax Claim shall receive, in full and final satisfaction of such
Allowed Priority Tax Claim, at the sole option of the Debtor or the Liquidating Plan Administrator, as
applicable, (a) Cash in an amount equal to such Allowed Priority Tax Claim on, or as soon thereafter as is
reasonably practicable, the later of (i) the Effective Date, to the extent such Claim is an Allowed Priority
Tax Claim on the Effective Date; (ii) the first Business Day after the date that is forty-five (45) calendar
days after the date such Priority Tax Claim becomes an Allowed Priority Tax Claim; and (iii) the date such
Allowed Priority Tax Claim is due and payable in the ordinary course as such obligation becomes due; or
(b) equal annual Cash payments in an aggregate amount equal to the amount of such Allowed Priority Tax
Claim, together with interest at the applicable rate under section 511 of the Bankruptcy Code, over a period




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not exceeding five (5) years from and after the Petition Date; provided, that the Debtor reserves the right to
prepay all or a portion of any such amounts at any time under this option without penalty or premium.

                2.6.     Private Wallet Crypto Holders.

                 Private Wallet Crypto Holders shall have until the Private Wallet Crypto Holder Bar Date
to request withdrawal of Tokens held in wallets or accounts owned or controlled by such Private Wallet
Crypto Holder or be forever barred, estopped, and enjoined from withdrawing such Tokens and asserting
any Claims relating to the loss of access to such Tokens against the Debtors or the Wind Down Estates, as
applicable, or their respective assets or properties and such Claims shall be deemed discharged as of the
Effective Date. Any such Tokens remaining in wallets accounts owned or controlled by such Private Wallet
Crypto Holder after the Private Wallet Crypto Holder Bar Date and that are accessible to the Debtors after
the Private Wallet Crypto Holder Bar Date, shall automatically become property of the Estates and deemed
Post-Effective Date Cash.

SECTION 3.      CLASSIFICATION OF CLAIMS AND INTERESTS.

                3.1.     Classification in General.

                  A Claim or Interest is placed in a particular Class for all purposes, including voting,
confirmation, and distribution under this Plan and under sections 1122 and 1123(a)(1) of the Bankruptcy
Code; provided, that a Claim or Interest is placed in a particular Class for the purpose of receiving
distributions pursuant to this Plan only to the extent that such Claim or Interest is an Allowed Claim or
Allowed Interest in that Class and such Claim or Interest has not been satisfied, released, or otherwise
settled prior to the Effective Date.

                3.2.     Summary of Classification.

                  The following table designates the Classes of Claims against, and Interests in, each of the
Debtors and specifies which of those Classes are (a) Impaired or Unimpaired by the Plan, (b) entitled to
vote to accept or reject the Plan in accordance with section 1126 of the Bankruptcy Code, and (c) deemed
to reject the Plan. In accordance with section 1123(a)(1) of the Bankruptcy Code, Administrative Expense
Claims, and Priority Tax Claims have not been classified and, thus, are excluded from the Classes of Claims
and Interests set forth in this Section 3.

                  The classification and treatment of Claims under this Plan takes into account various
factors, including (i) the potential that some or all Crypto Loss Claims could be subordinated pursuant to
section 510(b) of the Bankruptcy Code, and (ii) that holders of Crypto Loss Claims shall receive
distributions of certain assets, including those in the SEC Settlement Fund, pursuant to the SEC Settlement,
some of which might have been assets available for distribution to the GUC Pool but for the SEC
Settlement.




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  Class                     Designation                        Treatment             Entitled to Vote
    1                Priority Non-Tax Claims                  Unimpaired          No (Presumed to accept)
    2                 Other Secured Claims                    Unimpaired          No (Presumed to accept)
    3            Beltran Allowed Secured Claims               Unimpaired          No (Presumed to accept)
    4              General Unsecured Claims                     Impaired                   Yes
    5                   Crypto Loss Claims                      Impaired                   Yes
    6                       SEC Claim                           Impaired                   Yes
    7                  Intercompany Claims                      Impaired           No (Deemed to reject)
                                                              Unimpaired /            No (Deemed to
     8                  Intercompany Interests
                                                                Impaired               accept/reject)
     9             510(c) Subordinated Claims                   Impaired           No (Deemed to reject)
     10               TFL Equity Interests                      Impaired           No (Deemed to reject)

                 3.3.     Special Provision Governing Unimpaired Claims.

                 Except as otherwise provided in the Plan, nothing under the Plan shall affect the rights of
the Debtor or the Liquidating Plan Administrator, as applicable, in respect of any Unimpaired Claims,
including all rights in respect of legal and equitable defenses to, or setoffs or recoupments against, any such
Unimpaired Claims.

                 3.4.     Claims Arising Out of the Beltran Action.

                  For the avoidance of doubt, nothing in the Plan shall be interpreted to mean that Claims
arising out of the Beltran Action are Secured Claims. To the extent Claims arising out of the Beltran Action
are not Beltran Allowed Secured Claims, TFL and/or the Liquidating Plan Administrator shall request of
the High Court of the Republic of Singapore that the Beltran Escrow Deposit be returned to the Wind Down
Estates. Further, to the extent Claims arising out of the Beltran Action are Beltran Allowed Secured Claims,
then after such Claims are satisfied, TFL and/or the Liquidating Plan Administrator shall request of the
High Court of the Republic of Singapore that any excess amount of the Beltran Escrow Deposit shall be
returned to the Wind Down Estates. For the avoidance of doubt, nothing in the Plan shall be deemed to
Allow the Claims arising out of the Beltran Action.

                 3.5.     Elimination of Vacant Classes.

                 Any Class of Claims or Interests that, as of the commencement of the Confirmation
Hearing, does not have at least one holder of a Claim or Interest that is Allowed in an amount greater than
zero for voting purposes shall be considered vacant, deemed eliminated from the Plan for purposes of voting
to accept or reject the Plan, and disregarded for purposes of determining whether the Plan satisfies section
1129(a)(8) of the Bankruptcy Code with respect to that Class.

                 3.6.     Voting Classes; Presumptions.

                         (a)       Acceptance by Certain Impaired Classes. Only holders of Allowed
Claims in Classes 4, 5, and 6 are entitled to vote to accept or reject this Plan. An Impaired Class of Claims
shall have accepted this Plan if (i) the holders of at least two-thirds (2/3) in amount of the Allowed Claims
actually voting in such Class have voted to accept this Plan and (ii) the holders of more than one-half (1/2)
in number of the Allowed Claims actually voting in such Class have voted to accept this Plan. Holders of
Claims in Classes 4, 5, and 6 shall receive Ballots containing detailed voting instructions.




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                           (b)     Presumed Acceptance by Unimpaired Classes. Holders of Claims and
Interests in Classes 1, 2, 3 and 8 (if so treated) are conclusively deemed to have accepted this Plan pursuant
to section 1126(f) of the Bankruptcy Code. Accordingly, such holders are not entitled to vote to accept or
reject this Plan.

                          (c)       Deemed Rejection by Certain Impaired Classes. Holders of Claims and
Interests in Classes 7, 8 (if so treated), 9, and 10 are deemed to have rejected this Plan pursuant to section
1126(g) of the Bankruptcy Code. Accordingly, such holders are not entitled to vote to accept or reject this
Plan.

                  If a Class contains Claims or Interests eligible to vote and no holders of Claims or Interests
eligible to vote in such Class vote to accept or reject the Plan, the Debtor shall request the Bankruptcy Court
at the Confirmation Hearing to deem the Plan accepted by the holders of such Claims or Interests in such
Class.

                 3.7.    Confirmation Pursuant to Sections 1129(a)(10) and 1129(b) of the Bankruptcy
Code.

                 The Debtor shall seek Confirmation of this Plan pursuant to section 1129(b) of the
Bankruptcy Code with respect to any rejecting Class of Claims or Interests. The Debtor reserves the right
to modify this Plan in accordance with Section 12.4 hereof to the extent, if any, that Confirmation pursuant
to section 1129(b) of the Bankruptcy Code requires modification, including by modifying the treatment
applicable to a Class of Claims or Interests to render such Class of Claims or Interests Unimpaired to the
extent permitted by the Bankruptcy Code and the Bankruptcy Rules.

                 3.8.    No Waiver.

                Nothing contained in this Plan shall be construed to waive a Debtor’s, the Liquidating Plan
Administrator’s, or other Person’s right to object on any basis to any Claim, except as provided for in the
Plan.

SECTION 4.       TREATMENT OF CLAIMS AND INTERESTS.

                 4.1.    Priority Non-Tax Claims (Class 1).

                         (a)      Classification: Class 1 consists of Priority Non-Tax Claims against the
                                  Debtors.

                         (b)      Treatment: On or as soon as practicable after the Effective Date, except
                                  to the extent that a holder of an Allowed Priority Non-Tax Claim agrees
                                  to less favorable treatment, each holder thereof shall be paid in full in Cash
                                  or otherwise receive treatment consistent with the provisions of section
                                  1129(a)(9) of the Bankruptcy Code.

                         (c)      Voting: Class 1 is Unimpaired, and holders of Priority Non-Tax Claims
                                  are conclusively presumed to have accepted the Plan pursuant to section
                                  1126(f) of the Bankruptcy Code. Therefore, holders of Priority Non-Tax
                                  Claims are not entitled to vote to accept or reject the Plan, and the votes of
                                  such holders will not be solicited with respect to Priority Non-Tax Claims.




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 4.2.   Other Secured Claims (Class 2).

        (a)    Classification: Class 2 consists of the Other Secured Claims against the
               Debtors. To the extent that Other Secured Claims are secured by different
               collateral or different interests in the same collateral, such Claims shall be
               treated as separate subclasses of Class 2.

        (b)    Treatment:

               (i)     Except to the extent that a holder of an Allowed Other Secured
                       Claim agrees to different treatment, on the later of the Effective
                       Date and the date that is thirty (30) days after the date such Other
                       Secured Claim becomes an Allowed Claim, or as soon thereafter
                       as is reasonably practicable, each holder of an Allowed Other
                       Secured Claim will receive, on account of such Allowed Claim, at
                       the sole option of the Debtors or the Liquidating Plan
                       Administrator, as applicable: (i) Cash in an amount equal to the
                       Allowed amount of such Claim; (ii) such other treatment sufficient
                       to render such holder’s Allowed Other Secured Claim
                       Unimpaired; or (iii) return of the applicable collateral in
                       satisfaction of the Allowed amount of such Other Secured Claim.

               (ii)    Except as otherwise specifically provided herein, upon the
                       payment in full in Cash of an Other Secured Claim, any Lien
                       securing an Other Secured Claim that is paid in full, in Cash, shall
                       be deemed released, and the holder of such Other Secured Claim
                       shall be authorized and directed to release any collateral or other
                       property of the Debtors held by such holder and to take such
                       actions as may be requested by the Liquidating Plan
                       Administrator, to evidence the release of such Lien, including the
                       execution, delivery and filing or recording of such releases as may
                       be requested by the Liquidating Plan Administrator.

        (c)    Voting: Class 2 is Unimpaired, and holders of Other Secured Claims are
               conclusively presumed to have accepted the Plan pursuant to section
               1126(f) of the Bankruptcy Code. Therefore, holders of Other Secured
               Claims are not entitled to vote to accept or reject the Plan, and the votes of
               such holders will not be solicited with respect to such Other Secured
               Claims.

 4.3.   Beltran Allowed Secured Claims (Class 3).

        (a)    Classification: Class 3 consists of the Beltran Allowed Secured Claims
               against the Debtors.

        (b)    Treatment: Except to the extent that a holder of a Beltran Allowed Secured
               Claim agrees to different treatment, on the later of the Effective Date and
               the date that is thirty (30) days after the date that: (i) such Beltran Allowed
               Secured Claim becomes an Allowed Claim, and (ii) a Final Order of the
               courts of the Republic of Singapore is made permitting the release of the
               Beltran Escrow Deposit to the holders of the Beltran Allowed Secured



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               Claims, or as soon thereafter as is reasonably practicable, each holder of a
               Beltran Allowed Secured Claim will receive payment from the Beltran
               Escrow Deposit as determined by the Final Order of the courts of the
               Republic of Singapore.

        (c)    Voting: Class 3 is Unimpaired, and holders of Beltran Allowed Secured
               Claims are conclusively presumed to have accepted the Plan pursuant to
               section 1126(f) of the Bankruptcy Code. Therefore, holders of Beltran
               Allowed Secured Claims are not entitled to vote to accept or reject the
               Plan, and the votes of such holders will not be solicited with respect to
               such Beltran Allowed Secured Claims.

 4.4.   General Unsecured Claims (Class 4).

        (a)    Classification: Class 4 consists of General Unsecured Claims against the
               Debtor.

        (b)    Treatment: Except to the extent that a holder of an Allowed General
               Unsecured Claim agrees to less favorable treatment of such Claim, each
               holder of an Allowed General Unsecured Claim will receive its Pro Rata
               share of the GUC Pool up to the full amount of such Allowed General
               Unsecured Claim.

        (c)    Voting: Class 4 is Impaired, and the holders of General Unsecured Claims
               are entitled to vote to accept or reject the Plan.

 4.5.   Crypto Loss Claims (Class 5)

        (a)    Classification: Class 5 consists of Crypto Loss Claims against the Debtor.

        (b)    Treatment: Each holder of an Allowed Crypto Loss Claim will receive its
               Pro Rata share of the Crypto Loss Claim Pool. Except as provided for
               herein or in any order of the Bankruptcy Court, holders of Crypto Loss
               Claims must file and serve on the Wind Down Estates Proofs of Claim
               consistent with the procedures to be specified in the motion seeking to
               establish a Crypto Loss Claims Bar Date or be forever barred, estopped,
               and enjoined from asserting such Claims against the Wind Down Estates
               or their assets or properties, and such Claims shall be deemed discharged
               as of the Effective Date.

        (c)    Voting: Class 5 is Impaired, and the holders of Crypto Loss Claims are
               entitled to vote to accept or reject the Plan.

 4.6.   SEC Claim (6)

        (a)    Classification: Class 6 consists of the SEC Claim against the Debtors.

        (b)    Treatment: By consent of the SEC, pursuant to the SEC Settlement, the
               SEC Claim shall be treated as an Allowed general unsecured claim. Any
               distributions made to holders of Allowed Class 4 and Allowed Class 5
               Claims shall be deemed to satisfy the SEC Claim in the aggregate amount



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               of such Allowed Class 4 and Allowed Class 5 Claims. For the avoidance
               of doubt, (i) there shall be no distributions on the SEC Claim unless
               Allowed Claims in Class 4 and Class 5 are satisfied in full, and (ii) if the
               Allowed Claims in Class 4 and Class 5 are satisfied in full under the Plan,
               distributions shall be made on account of any remaining unsatisfied
               portion of the SEC Claim until paid in full before any distribution is made
               to holders of 510(c) Subordinated Claims or holders of TFL Equity
               Interests.

        (c)    Voting: Class 6 is Impaired, and the holder of the SEC Claim is entitled
               to vote to accept or reject the Plan.

 4.7.   Intercompany Claims (Class 7).

        (a)    Classification:   Class 7 consists of Intercompany Claims against the
               Debtor.

        (b)    Treatment: On or after the Effective Date, all Intercompany Claims will
               either be reinstated or cancelled and released at the option of the Debtor
               or otherwise treated as determined by the Liquidating Plan Administrator;
               provided that no such distributions shall be made on account of such
               Intercompany Claims on the Effective Date.

        (c)    Voting: Class 7 is Impaired, and the holders of Intercompany Claims are
               conclusively deemed to have rejected the Plan pursuant to section 1126(g)
               of the Bankruptcy Code. Therefore, holders of Intercompany Claims are
               not entitled to vote to accept or reject this Plan, and the votes of such
               holders will not be solicited with respect to such Intercompany Claims.

 4.8.   Intercompany Interests (Class 8).

        (a)    Classification: Class 8 consists of Intercompany Interests in the Debtors.

        (b)    Treatment: On the Effective Date, Intercompany Interests shall receive no
               recovery or distribution and be reinstated solely to maintain the Debtors’
               corporate structure, as necessary.

        (c)    Voting: Allowed Intercompany Interests are either Unimpaired, in which
               case the holders of such Intercompany Interests conclusively are presumed
               to have accepted the Plan pursuant to section 1126(f) of the Bankruptcy
               Code, or Impaired, in which case the holders of such Intercompany
               Interests conclusively are presumed to have rejected the Plan pursuant to
               section 1126(g) of the Bankruptcy Code. Therefore, holders of Allowed
               Intercompany Interests are not entitled to vote to accept or reject this Plan,
               and the votes of such holders will not be solicited with respect to such
               Allowed Intercompany Interests.

 4.9.   510(c) Subordinated Claims (Class 9).

        (a)    Classification: Class 9 consists of 510(c) Subordinated Claims.




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         (b)    Treatment: Class 9 510(c) Subordinated Claims are subordinated pursuant
                to this Plan and section 510(c) of the Bankruptcy Code. 510(c)
                Subordinated Claims shall be deemed expunged, released, and
                extinguished without further action by or order of the Bankruptcy Court,
                and shall be of no further force or effect.

         (c)    Voting: Class 9 is Impaired, and the holders of TFL Equity Interests are
                conclusively deemed to have rejected the Plan pursuant to section 1126(g)
                of the Bankruptcy Code. Therefore, holders of 510(c) Subordinated
                Claims are not entitled to vote to accept or reject this Plan, and the votes
                of such holders will not be solicited with respect to such 510(c)
                Subordinated Claims.

 4.10.   TFL Equity Interests (Class 10).

         (a)    Classification: Class 10 consists of TFL Equity Interests.

         (b)    Treatment: On the Effective Date, all TFL Equity Interests shall be
                cancelled and one share of TFL common stock (the “Single Share”) shall
                be issued to the Liquidating Plan Administrator to hold in trust as
                custodian for the benefit of the former holders of TFL Equity Interests
                consistent with their former relative priority and economic entitlements
                and the Single Share shall be recorded on the books and records
                maintained by the Liquidating Plan Administrator. Each former holder of
                TFL Stock (through their interest in the Single Share, as applicable) shall
                neither receive nor retain any property of the Estate or direct interest in
                property of the Estate on account of such TFL Stock; provided, that in the
                event that all Allowed Claims have been satisfied in full in accordance
                with the Bankruptcy Code and the Plan, each former holder of a TFL
                Existing Equity Interests may receive its share of any remaining assets of
                TFL consistent with such holder’s rights of payment existing immediately
                prior to the Petition Date; provided that, for the avoidance of doubt, no
                former holder of TFL Existing Equity Interests on account of the Single
                Share shall retain any voting rights in the Wind Down Estates. Unless
                otherwise determined by the Liquidating Plan Administrator, on the date
                that TFL’s Chapter 11 Case is closed in accordance with Section 5.15 of
                the Plan, the Single Share issued on the Effective Date shall be deemed
                cancelled and of no further force and effect; provided that (i) such
                cancellation does not adversely impact the Debtors’ Estates; and (ii) the
                continuing rights of former holders of TFL Stock (including through their
                interest in Single Share or otherwise) shall be nontransferable except (A)
                by operation of law or (B) for administrative transfers where the ultimate
                beneficiary has not changed, subject to the Liquidating Plan
                Administrator’s consent.

         (c)    Voting: Class 10 is Impaired, and the holders of TFL Equity Interests are
                conclusively deemed to have rejected the Plan pursuant to section 1126(g)
                of the Bankruptcy Code. Therefore, holders of TFL Equity Interests are
                not entitled to vote to accept or reject this Plan, and the votes of such
                holders will not be solicited with respect to such TFL Equity Interests.



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SECTION 5.       MEANS FOR IMPLEMENTATION.

                 5.1.    Limited Substantive Consolidation of the Debtors.

                 This Plan shall serve as a motion by the Debtors seeking entry of a Bankruptcy Court order
deeming the substantive consolidation of the Debtors’ Estates into a single Estate for certain limited
purposes relating to the Plan, including voting, Confirmation, and Distribution. As a result of the limited
substantive consolidation of the Estates, (a) each Class of Claims and Interests shall be treated as against a
single consolidated Estate without regard to the separate legal existence of the Debtors, (b) as set forth in
Section 4.7, no Distributions under the Plan shall be made on account of Intercompany Claims, and (c) for
purposes of determining the availability of the right of setoff under section 553 of the Bankruptcy Code,
the Debtors shall be treated as one consolidated entity so that, subject to the other provisions of section 553,
debts due to one Debtor may be set off against the debts of the other Debtor. The limited substantive
consolidation of the Debtors under the Plan shall not affect (i) the legal and organizational structure of the
Debtors, including for corporate, tax or any other purpose, (ii) the ability of the Wind Down Estates and
the Liquidating Plan Administrator to subordinate or otherwise challenge Claims on an entity-by-entity
basis, (iii) any Causes of Action or defenses thereto, which in each case shall survive entry of the
Confirmation Order as if there had been no substantive consolidation of the Estates, and (iv) payments from
any insurance policies or the proceeds thereof.

                 5.2.    Sources of Consideration for Plan Distribution.

                 The Debtors and the Liquidating Plan Administrator, as applicable, shall fund Distributions
under this Plan as set forth herein with the (a) Effective Date Available Cash, (b) Post-Effective Date Cash,
(c) the Senior Claim Pool, (d) the SEC Settlement Fund, and (e) the Surplus Reserved Cash.

                 5.3.    Implementation.

                             (a)     Prior to the Effective Date, the Debtors shall use commercially reasonable
efforts to sell its interest in Proximity, all related assets of Proximity, and the Venture Investments.

                        (b)       On the Effective Date, the Senior Claim Pool shall be established and
funded pursuant to the Plan.

                         (c)      On the Effective Date, the SEC Settlement Fund shall be established and
funded.

                         (d)      On the Effective Date, the GUC Pool shall be established and funded
pursuant to the Plan.

                          (e)      Prior to the Effective Date, the Fee Escrow Account shall be established
and funded with an amount of Cash sufficient to pay Fee Claims, based upon estimates provided by the
Professionals, as set forth in Section 2.4 of the Plan.

                        (f)     On the Effective Date, the Wind Down Reserve and the Wind Down
Estates shall be funded in accordance with the Wind Down Budget for the Wind Down process and be
funded with the Wind Down Amount. An initial Wind Down Budget shall be filed with the Plan
Supplement and may be amended, modified, or supplemented from time to time by the Liquidating Plan
Administrator.




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                        (g)      On the Effective Date, any remaining assets and any Causes of Action of
the Debtors’ Estates shall transfer to the Wind Down Estates automatically and without further action of
the Bankruptcy Court.

                         (h)      On or before the Effective Date, TFL shall transfer all remaining non-
Terra Crypto, if any, held in private wallets or accounts controlled or owned by the Debtors to a third party
custodian wallet or account held in the name of the Liquidating Plan Administrator.

                        (i)     Up to the Private Wallet Crypto Holder Bar Date, the Debtors shall provide
Private Wallet Crypto Holders access to such Private Wallet Crypto Holders’ wallets or accounts for the
sole purpose of allowing such Private Wallet Crypto Holder to withdraw Tokens held in such wallets or
accounts, which, for the avoidance of doubt, shall be deemed property of the Estates, to the extent such
Tokens have not been withdrawn by the applicable Private Wallet Crypto Holder by the Private Wallet
Crypto Holder Bar Date and are accessible to the Debtors after the Private Wallet Crypto Holder Bar Date;

                         (j)     At the conclusion of the Wind Down, any residual amounts remaining in
the Wind Down Reserve shall be transferred to the GUC Pool for final distribution. Upon the General
Unsecured Claims Payment Completion, any residual amounts remaining in the Wind Down Reserve shall
be transferred to the Crypto Loss Claims Pool.

                       (k)     In accordance with Section 5.4 of the Plan, the Liquidating Plan
Administrator may allocate Surplus Reserved Cash pursuant to the Waterfall.

                       (l)     In accordance with Section 5.4 of the Plan, the Liquidating Plan
Administrator may allocate Surplus Senior Claim Pool Cash pursuant to the Waterfall.

                5.4.     Liquidating Plan Administrator.

                        (a)     Appointment. The Liquidating Plan Administrator’s retention shall
commence on the Effective Date and shall continue until: (i) the Bankruptcy Court enters an order closing
the Chapter 11 Cases, unless otherwise set forth in such order; (ii) the Bankruptcy Court enters an order
removing the Liquidating Plan Administrator for cause; or (iii) the Liquidating Plan Administrator
voluntarily resigns, upon notice filed with the Bankruptcy Court, and a successor Liquidating Plan
Administrator is appointed in accordance with the Plan.

                        (b)      Authority. Subject to Section 5.4(b) and in accordance with the Wind
Down Agreement, the Liquidating Plan Administrator shall have the authority and right on behalf of the
Debtors, and the directors of TFL shall be deemed to have delegated their authority, rights, powers and
discretions under the TFL constitution, Singapore Companies Act of 1967 or any applicable law, without
the need for Bankruptcy Court approval (unless otherwise indicated), in furtherance of the Liquidating Plan
Administrator’s fiduciary duties to the creditor beneficiaries of the Wind Down Estates (until all Allowed
Claims have been satisfied in full in accordance with the Bankruptcy Code and the Plan), and subject to
any consent or consultation rights of the Advisory Board, as set forth herein and in the Wind Down
Agreement, to carry out and implement all provisions of the Plan, including, without limitation, to:

                                 (i)     subject to Section 7 of the Plan, except to the extent Claims have
been previously Allowed, control and effectuate the Claims reconciliation process in accordance with the
terms of this Plan, including to Allow, object to, or seek to subordinate, compromise or settle any and all
Claims against the Debtors;

                                 (ii)    make Distributions in accordance with this Plan;



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                              (iii)  exercise its reasonable business judgment to direct and control the
Wind Down under the Plan and in accordance with applicable law as necessary to maximize Distributions
to holders of Allowed Claims;

                                (iv)    prepare, file, and prosecute any necessary filings or pleadings with
the Bankruptcy Court to carry out the duties of the Liquidating Plan Administrator as described herein;

                                  (v)      other than any Causes of Action released by the Debtor pursuant
to the Plan or otherwise, prosecute all Causes of Action on behalf of the Debtor, elect not to pursue any
Causes of Action, and determine whether and when to compromise, settle, abandon, dismiss, or otherwise
dispose of any such Causes of Action, as the Liquidating Plan Administrator may determine is in the best
interests of the Debtors and their Estates;

                                (vi)     retain professionals, disbursing agents, and other agents,
independent contractors, and third parties pursuant to the Wind Down Agreement to assist in performing
its duties under the Plan;

                                 (vii)   maintain the books and records and accounts of the Debtors;

                                 (viii) incur and pay reasonable and necessary expenses in connection
with the performance of duties under this Plan, including the reasonable fees and expenses of professionals
retained by the Liquidating Plan Administrator;

                                  (ix)     administer each Debtor’s tax obligations, including (i) filing tax
returns and paying tax obligations, (ii) requesting, if necessary, an expedited determination of any unpaid
tax liability of each Debtor or its Estate under Bankruptcy Code section 505(b) for all taxable periods of
such Debtor ending after the Petition Date through the liquidation of such Debtor as determined under
applicable tax laws, and (iii) representing the interest and account of each Debtor or its Estate before any
taxing authority in all matters including, without limitation, any action, suit, proceeding or audit;

                                 (x)      prepare and file any and all informational returns, reports,
statements, returns or disclosures relating to the Debtor that are required hereunder, by any Governmental
Unit or applicable law;

                                 (xi)    pay Statutory Fees in accordance with Section 12.1 of the Plan;

                                 (xii)   amend, modify, or supplement the Wind Down Budget or Wind
Down Agreement;

                               (xiii) to the extent not already determined and implemented, determine
the procedure by which a holder of a Claim or Interest may contribute its Contributed Third-Party Claims
to the Wind Down Estates;

                                (xiv) determine, from time to time, whether the amounts available in
the Wind Down Reserve are in excess of the amount necessary to satisfy the purpose for which such reserve
was established and amend, modify, or supplement the Wind Down Budget accordingly. If the Liquidating
Plan Administrator determines that a surplus exists in the Wind Down Reserve as of the date of such
determination, the Liquidating Plan Administrator may allocate such Surplus Reserved Cash pursuant to
the Waterfall;




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                                 (xv)     determine, from time to time, whether the amounts available in
the Senior Claim Pool are in excess of the amount necessary to pay holders of Allowed Senior Claims, plus
any such Disputed Claims until final Allowance or Disallowance. If the Liquidating Plan Administrator
determines that a surplus exists in the Senior Claim Pool as of the date of such determination, the
Liquidating Plan Administrator may allocate the Surplus Senior Claim Pool Cash pursuant to the Waterfall;

                                  (xvi)    perform other duties and functions that are consistent with the
implementation of the Plan; and

                                  (xvii)   close the Chapter 11 Cases.

                For the avoidance of doubt, until all Allowed Claims have been satisfied in full in
accordance with the Bankruptcy Code and the Plan, the Liquidating Plan Administrator shall owe no
fiduciary duties to TFL Existing Equity Interests on account of the Single Share maintained by the
Liquidating Plan Administrator, and shall instead owe fiduciary duties to creditor beneficiaries of the Wind
Down Estates.

                         (c)      Boards of Directors and Officers.

                                  Upon the Effective Date, (i) the officers and directors of the Debtors
existing prior to the Effective Date shall be relieved of any and all duties with the respect to the Debtors
and shall be deemed to have resigned without the requirement of having to take any further action and (ii)
the Liquidating Plan Administrator shall be the sole officer, director, or manager, as applicable, of each of
the Debtors without the requirement of having to take any further action; provided, that, TFL shall have
one director who is ordinarily resident in Singapore, and who shall also be a member of the Advisory Board,
for the purpose of ensuring compliance with any corporate governance and reporting requirements of TFL
under Singapore law including, among other things, the holding of an annual general meeting and laying
of financial statements at the annual general meeting (section 201 of the Singapore Companies Act 1967),
the lodgment of annual returns (section 197 of the Singapore Companies Act 1967), and the maintenance
of registers of the company and lodging of documents as required under Singapore law..

                        (d)     Wind Down. After the Effective Date, pursuant to the Plan, the
Liquidating Plan Administrator shall effectuate the Wind Down according to the Wind Down Budget
without any further approval by the Bankruptcy Court and free of any restrictions of the Bankruptcy Code
or Bankruptcy Rules, provided, that, the Liquidating Plan Administrator shall not effectuate the Wind Down
in a manner inconsistent with any express requirements of the Wind Down Agreement, including with
respect to any consent or consultation rights of the Advisory Board. The Wind Down (as determined for
federal income tax purposes) shall occur in an expeditious but orderly manner after the Effective Date.

                         (e)      Indemnification. The Wind Down Estates shall indemnify and hold
harmless the Liquidating Plan Administrator solely in its capacity as such for any losses incurred in such
capacity, except to the extent such losses were the result of the Liquidating Plan Administrator’s bad faith,
gross negligence, willful misconduct or criminal conduct.

                           (f)     Dissolution. After the Effective Date, the Liquidating Plan Administrator
shall, subject to applicable non-bankruptcy law and consistent with the implementation of this Plan, merge,
dissolve, liquidate, or take such other similar action with respect to each Debtor (including the cancellation
of all Interests in each Wind Down Estate) and complete the winding up of such Wind Down Estate as
expeditiously as practicable without the necessity for any other or further actions to be taken by or on behalf
of such Wind Down Estate or its shareholders or members, as applicable, or any payments to be made in
connection therewith subject to the filing of a certificate of dissolution with the appropriate Governmental



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Unit; provided, however, that the foregoing does not limit the Liquidating Plan Administrator’s ability to
otherwise abandon an Interest in a Wind Down Estate. The Liquidating Plan Administrator may, to the
extent required by applicable non-bankruptcy law, maintain a Wind Down Estate as a corporate entity in
good standing until such time as such Wind Down Estate is dissolved or merged out of existence in
accordance with the Plan.

                           (g)      Wind Down Agreement. For the avoidance of doubt, the establishment,
obligations, and governance of the Wind Down Estates, the rights, obligations, and duties of the Liquidating
Plan Administrator, and the rights of creditors, including consent and consultation rights, shall be set forth
fully in the Wind Down Agreement, and the consent and consultation rights set forth in this Section 5.4 are
cumulative to those set forth in the Wind Down Agreement. In the event of a conflict between the consent
rights set forth in this Section 5.4 of the Plan on the one hand, and the Wind Down Agreement or any other
document on the other, the document containing the broadest consent or consultation rights shall control.
For the further avoidance of doubt, and notwithstanding anything to the contrary herein, any consent or
consultation rights set forth in the Wind Down Agreement shall not limit, dilute, or otherwise impair those
set forth in this Section 5.4 of the Plan.

                5.5.     Administration of Crypto Loss Claims.

                 Other than to the limited extent provided in the Plan with respect to the overall treatment
of Crypto Loss Claims, individual Crypto Loss Claims will be administered in accordance with the Crypto
Loss Claim Procedures and any related procedures for determining the Allowed Claim for each creditor
that asserts a Crypto Loss Claim, which general process to such procedures are to be described in the Plan
Supplement.

                5.6.     Corporate Action.

                 Upon the Effective Date, by virtue of entry of the Confirmation Order, all actions
contemplated by this Plan (including any action to be undertaken by the Liquidating Plan Administrator)
shall be deemed authorized, approved, and, to the extent taken prior to the Effective Date, ratified without
any requirement for further action by holders of Claims or Interests, the Debtors, or any other Entity or
Person. All matters provided for in this Plan involving the corporate structure of the Debtors, and any
corporate action required by the Debtors in connection therewith, shall be deemed to have occurred and
shall be in effect as of the Effective Date, without any requirement of further action by the Debtors or the
Estates.

                5.7.     Withholding and Reporting Requirements.

                          (a)     Withholding Rights. In connection with the Plan, any party issuing any
instrument or making any distribution described in the Plan shall comply with all applicable withholding
and reporting requirements imposed by any federal, state, or local taxing authority, and all distributions
pursuant to the Plan and all related agreements shall be subject to any such withholding or reporting
requirements. Any amounts withheld pursuant to the preceding sentence shall be deemed to have been
distributed to and received by the applicable recipient for all purposes of the Plan. Notwithstanding the
foregoing, each holder of an Allowed Claim or any other Person that receives a distribution pursuant to the
Plan shall have responsibility for any taxes imposed by any Governmental Unit, including, without
limitation, income, withholding, and other taxes, on account of such distribution. Any party issuing any
instrument or making any distribution pursuant to the Plan has the right, but not the obligation, to not make
a distribution until such holder has made arrangements satisfactory to such issuing or disbursing party for
payment of any such tax obligations. Additionally, in the case of a non-Cash distribution that is subject to
withholding, the distributing party has the right, but not the obligation, to withhold an appropriate portion


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of such distributed property and either (i) sell such withheld property to generate Cash necessary to pay
over the withholding tax (or reimburse the distributing party for any advance payment of the withholding
tax), or (ii) pay the withholding tax using its own funds and retain such withheld property.

                         (b)      Forms. Any party entitled to receive any property as an issuance or
distribution under the Plan shall, upon request, deliver to the Liquidating Plan Administrator, Wind Down
Estates, or such other Person designated by the Liquidating Plan Administrator or Wind Down Estates
(which entity shall subsequently deliver to the Liquidating Plan Administrator any applicable IRS Form W-
8 or Form W-9 received) an appropriate Form W-9 or Form W-8, as applicable, unless such Person is
exempt from information reporting under the Tax Code and provides to the Liquidating Plan Administrator
notice and evidence of such exemption. If such request is made by the Liquidating Plan Administrator,
Wind Down Estates, or such other Person designated by the Liquidating Plan Administrator or Wind Down
Estates and the holder fails to comply within three hundred sixty-five (365) calendar days after the request
is made, the amount of such distribution shall irrevocably revert to the applicable Wind Down Estate and
any Claim in respect of such distribution shall be forever barred from assertion against any Debtor, the
applicable Wind Down Estate and their respective property.

                 5.8.    Exemption From Certain Transfer Taxes.

                 To the maximum extent provided by section 1146(a) of the Bankruptcy Code: (i) the
issuance, distribution, transfer, or exchange of any debt, equity security, or other interest in the Debtors; or
(ii) the making, delivery, or recording of any deed or other instrument of transfer under, in furtherance of,
or in connection with, the Plan, including any deeds, bills of sale, assignments, or other instruments of
transfer executed in connection with any transaction arising out of, contemplated by, or in any way related
to the Plan, shall not be subject to any document recording tax, stamp tax, conveyance fee, intangibles or
similar tax, mortgage tax, real estate transfer tax, mortgage recording tax, Uniform Commercial Code filing
or recording fee, or other similar tax or governmental assessment, in each case to the extent permitted by
applicable bankruptcy law, and the appropriate state or local government officials or agents shall forego
collection of any such tax or governmental assessment and accept for filing and recordation any of the
foregoing instruments or other documents without the payment of any such tax or governmental assessment.

                 5.9.    Effectuating Documents; Further Transactions.

                            (a)      On or as soon as practicable after the Effective Date, the Liquidating Plan
Administrator shall take such actions as may be or become necessary or appropriate to effect any transaction
described in, approved by, contemplated by, or necessary to effectuate the Plan, subject to any consent or
consultation rights of the Advisory Board, as set forth in the Wind Down Agreement, including (i) the
execution and delivery of appropriate agreements or other documents of merger, consolidation,
restructuring, financing, conversion, disposition, transfer, dissolution, transition services, or liquidation
containing terms that are consistent with the terms of the Plan and that satisfy the applicable requirements
of applicable law and any other terms to which the applicable Entities may determine; (ii) the execution
and delivery of appropriate instruments of transfer, assignment, assumption, or delegation of any Asset,
property, right, liability, debt, or obligation on terms consistent with the terms of the Plan and having other
terms to which the applicable parties agree; (iii) the filing of appropriate certificates or articles of
incorporation, reincorporation, merger, consolidation, conversion, or dissolution pursuant to applicable
state law; (iv) the issuance of securities, all of which shall be authorized and approved in all respects, in
each case, without further action being required under applicable law, regulation, order, or rule; (v) the
execution, delivery, or filing of contracts, instruments, releases, and other agreements to effectuate and
implement the Plan without the need for any approvals, authorizations, actions, or consents; (vi) making
any required lodgements and filing with the Accounting and Corporate Regulatory Authority to effect the



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appropriate changes to the electronic register of members to give effect to Section 4.10; and (vii) all other
actions that the applicable Entities determine to be necessary or appropriate.

                          (b)      Each officer, manager, or member of the board of directors of the Debtors
is (and each officer, manager, or member of the board of directors of the Liquidating Plan Administrator,
if applicable, shall be) authorized and directed to issue, execute, deliver, file, or record such contracts,
securities, instruments, releases, indentures, and other agreements or documents and take such actions as
may be necessary or appropriate to effectuate, implement, and further evidence the terms and conditions of
the Plan and the securities issued pursuant to the Plan in the name of, and on behalf of, the Wind Down
Estates, all of which shall be authorized and approved in all respects, in each case, without the need for any
approvals, authorization, consents, or any further action required under applicable law, regulation, order,
or rule (including, without limitation, any action by the stockholders or directors or managers of the
Debtors, or the Wind Down Estates) except for those expressly required pursuant to the Plan.

                        (c)     All matters provided for herein involving the corporate structure of the
Debtor or the Wind Down Estates, to the extent applicable, or any corporate or related action required by
the Debtors or the Wind Down Estates in connection herewith shall be deemed to have occurred and shall
be in effect, without any requirement of further action by the stockholders, members, or directors or
managers of the Debtors and with like effect as though such action had been taken unanimously by the
stockholders, members, directors, managers, or officers, as applicable, of the Debtors or the Wind Down
Estates.

                 5.10.   Preservation of Rights of Action.

                   Other than Causes of Action against an Entity that are waived, relinquished, exculpated,
released, compromised, transferred, or settled pursuant to this Plan, the Confirmation Order, or by another
Bankruptcy Court order, the Debtors reserve any and all Causes of Action. On and after the Effective Date,
the Liquidating Plan Administrator may pursue such Causes of Action on behalf of the Wind Down Estates.
No Entity may rely on the absence of a specific reference in this Plan or the Disclosure Statement to any
Cause of Action against them as any indication that the Debtor or the Liquidating Plan Administrator, as
applicable will not pursue any and all available Causes of Action against them. Except with respect to
findings in the Confirmation Order relating to Section 10.9 of the Plan, no preclusion doctrine, including
the doctrines of res judicata, collateral estoppel, issue preclusion, claim preclusion (judicial, equitable, or
otherwise), or laches, shall apply to such Causes of Action upon, after, or as a consequence of the
Confirmation or the Effective Date. Prior to the Effective Date, the Debtor, and on and after the Effective
Date, the Liquidating Plan Administrator shall retain and shall have, including through its authorized agents
or representatives, the exclusive right, authority, and discretion, subject to this Plan, to determine and to
initiate, file, prosecute, enforce, abandon, settle, compromise, release, withdraw, or litigate to judgment any
such Causes of Action and to decline to do any of the foregoing, as the Liquidating Plan Administrator may
determine is in the best interest of the Estates, without the consent or approval of any third party or further
notice to or action, order, or approval of the Bankruptcy Court. Notwithstanding anything contained herein
to the contrary, the settlement of any Claims and Causes of Action which are expressly to be settled by
Confirmation of this Plan itself shall be resolved only by Confirmation of this Plan itself.

                 5.11.   Certificate of Incorporation and By-Laws.

                 As of the Effective Date, the certificate of incorporation and by-laws, or other
organizational documents, as applicable, of the Debtor shall be amended to the extent necessary to carry
out the provisions of this Plan.




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                 5.12.   Cancellation of Existing Securities and Agreements.

                 Except for the purpose of evidencing a right to a distribution under the Plan and except as
otherwise set forth in the Plan, all notes, instruments, other securities, and other evidence of debt issued,
and any rights of any holder in respect thereof shall be deemed cancelled, discharged, and of no force or
effect and the obligations of the Debtor thereunder shall be deemed fully satisfied, released, and discharged.

                 5.13.   Subordinated Claims.

                  The allowance, classification, and treatment of all Allowed Claims and Interests, and the
respective distributions and treatments under the Plan, take into account and conform to the relative priority
and rights of the Claims and Interests in each Class in connection with any contractual, legal, and equitable
subordination rights relating thereto, whether arising under general principles of equitable subordination,
section 510(b) of the Bankruptcy Code, or otherwise. Pursuant to section 510 of the Bankruptcy Code, the
Debtors reserve the right for the Liquidating Plan Administrator to seek to re-classify any Allowed Claim
or Interest in accordance with any contractual, legal, or equitable subordination relating thereto.

                 5.14.   Equitable Subordination Under Bankruptcy Code 510(c).

                The Liquidating Plan Administrator shall have the right to object to any Claim on the basis
that such Claim should be equitably subordinated pursuant to section 510(c) and should be classified as a
Section 510(c) Subordinated Claim. A Claim shall be deemed a Section 510(c) Subordinated Claim only
upon a Final Order of the Bankruptcy Court.

                 5.15.   Election to Contribute Third-Party Claims.

                   Because aggregating all Contributed Third-Party Claims may enable the pursuit and
settlement of such litigation claims in a more efficient and effective manner, each holder of a Claim or
Interest may agree to contribute its Contributed Third-Party Claims to the Wind Down Estates. To the
extent not already determined and implemented, the procedure by which a holder of a Claim or Interest
may contribute its Contributed Third-Party Claims to the Wind Down Estates shall be determined by the
Liquidating Plan Administrator. By contributing its Claim or Interest, each Contributing Claimant agrees
that it will be deemed, without further action, (i) to have irrevocably contributed its Contributed Third-Party
Claims to the Wind Down Estates, and (ii) to have agreed to execute any documents reasonably requested
by the Debtors or the Wind Down Estates to memorialize and effectuate such contribution.

                 5.16.   Contribution of Contributed Third-Party Claims.

                 Upon election, all Contributed Third-Party Claims will be irrevocably contributed to the
Wind Down Estates and shall thereafter be assets of the Wind Down Estates for all purposes. No Person
may rely on the absence of a specific reference in the Plan, the Disclosure Statement, the Confirmation
Order, the Wind Down Agreement, the Plan Supplement, or any other document as any indication that the
Wind Down Estates will or will not pursue any and all available Contributed Third-Party Claims against
such Person. The Wind Down Estates shall have, retain, reserve, and be entitled to assert all Contributed
Third-Party Claims fully to the same extent that the Contributing Claimants could have asserted such
Claims prior to the Effective Date. For the avoidance of doubt, the Contributed Third-Party Claims shall
not include the rights of any of the Contributing Claimants to receive the distributions under the Plan on
account of their Claims or Interests.




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                 5.17.   Closing of Chapter 11 Cases.

               After an Estate has been fully administered, the applicable Wind Down Estate or
Liquidating Plan Administrator shall seek authority from the Bankruptcy Court to close the applicable
Chapter 11 Case(s) in accordance with the Bankruptcy Code and Bankruptcy Rules.

                 5.18.   Notice of Effective Date.

                As soon as practicable, but not later than three (3) Business Days following the Effective
Date, the Debtor shall file a notice of the occurrence of the Effective Date with the Bankruptcy Court.

                 5.19.   Corporate Form.

               On the Effective Date, each of the Debtors shall maintain its current corporate form, which
may be modified or changed at any time after the Effective Date by the Liquidating Plan Administrator in
accordance with the terms of this Plan and applicable law.

                 5.20.   Separability.

                  Notwithstanding the combination of the separate plans of liquidation for the Debtors set
forth in the Plan for purposes of economy and efficiency, the Plan constitutes a separate chapter 11 plan for
each Debtor. Accordingly, if the Bankruptcy Court does not confirm the Plan with respect to one or more
Debtors, it may still, subject to the consent of the applicable Debtors, confirm the Plan with respect to any
other Debtor that satisfies the confirmation requirements of section 1129 of the Bankruptcy Code.

SECTION 6.       DISTRIBUTIONS.

                 6.1.    Distributions Generally.

                 Except as otherwise provided in the Plan, one or more Disbursing Agents shall make all
distributions under the Plan to the appropriate holders of Allowed Claims in accordance with the terms of
the Plan.

                 6.2.    Distribution Record Date.

                  As of the close of business on the Distribution Record Date, the various transfer registers
for each of the Classes of Claims or Interests as maintained by the Debtors or their respective agents shall
be deemed closed for purposes of determining whether a holder of such a Claim or Interest is a record
holder entitled to distributions under the Plan, and there shall be no further changes in the record holders or
the permitted designees of any such Claims or Interests. The Debtor, or the Liquidating Plan Administrator,
as applicable, shall have no obligation to recognize any transfer or designation of such Claims or Interests
occurring after the close of business on the Distribution Record Date. In addition, with respect to payment
of any Cure Amounts or Assumption Disputes, neither the Debtors nor the Disbursing Agent shall have any
obligation to recognize or deal with any party other than the non-Debtor party to the applicable executory
contract or unexpired lease as of the close of business on the Distribution Record Date, even if such
non-Debtor party has sold, assigned, or otherwise transferred its Claim for a Cure Amount.




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                   6.3.   Distributions on the Effective Date or as Soon as Reasonably Practicable
Thereafter.

                The Disbursing Agent shall make Distributions, as applicable, on the Effective Date or as
soon as reasonably practicable thereafter, of Cash on the Effective Date:

                        (a)      of Cash in the Senior Claim Pool to holders of Allowed Senior Claims, to
the extent Allowed as of the Effective Date;

                          (b)     of Cash in the Fee Escrow to holders of Fee Claims in accordance with
Section 2.4; and

                         (c)    of Cash in the GUC Pool to holders of Allowed General Unsecured
Claims, to the extent Allowed as of the Effective Date and there are funds in the GUC Pool;

                   6.4.   Periodic Distributions from the Senior Claim Pool, GUC Pool, and Crypto Loss
Claim Pool.

                The Disbursing Agent shall make periodic Distributions, in the frequency determined by
the Liquidating Plan Administrator in its sole discretion, as applicable:

                         (a)     of Cash in the Senior Claim Pool to holders of Allowed Senior Claims, to
the extent Allowed after the Effective Date;

                         (b)     of Cash in the GUC Pool to (i) holders of Allowed General Unsecured
Claims, to the extent Allowed after the Effective Date and (ii) as Disputed General Unsecured Claims are
resolved, resulting in additional funds being available in the GUC Pool for holders of Allowed General
Unsecured Claims, to holders of previously Allowed General Unsecured Claims that have not been paid in
full;

                         (c)     of Cash in the Crypto Loss Claim Pool to holders of Allowed Crypto Loss
Claims, in accordance with the allocation procedures set forth in the Crypto Loss Claim Procedures, to the
extent Allowed after the Effective Date and as Disputed Crypto Loss Claims are Allowed; and

                     (d)     of Cash in the Crypto Loss Claim Pool to the SEC, to the extent all
Allowed Crypto Loss Claims have been satisfied in full and all Disputed Crypto Loss Claims have been
resolved.

                   6.5.   Date of Distributions.

                        (a)      In the event that any payment or act under the Plan is required to be made
or performed on a date that is not a Business Day, then the making of such payment or the performance of
such act may be completed on the next succeeding Business Day, but shall be deemed to have been
completed as of the required date.

                       (b)      (i) Except as set forth in Section 6.5(c), prior to any distributions by the
Liquidating Plan Administrator of any Surplus Senior Claim Pool Cash pursuant to the Waterfall, the
Liquidating Plan Administrator shall make distributions to holders of all Allowed Senior Claims until such
Allowed Claims are indefeasibly paid in full, (ii) prior to any distributions by the Liquidating Plan
Administrator of any surplus funds in the GUC Pool to the holders of Crypto Loss Claims, the General
Unsecured Claim Payment Completion shall have occurred; provided that the Liquidating Plan



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Administrator may make distributions to holders of Allowed Crypto Loss Claims prior to the General
Unsecured Claim Payment Completion, solely to the extent such distributions are funded with the SEC
Settlement Fund, and (iii) prior to any distributions by the Liquidating Plan Administrator to the SEC, the
Liquidating Plan Administrator shall make distributions to holders of Crypto Loss Claims.

                         (c)      After the resolution of a Disputed Senior Claim, the Liquidating Plan
Administrator may treat any amounts that were reserved on account of such Disputed Senior Claim that is
Disallowed or does not become an Allowed Claim as Surplus Senior Claim Pool Cash and such amounts
shall be allocated pursuant to the Waterfall.

                 6.6.    Disbursing Agent.

                  Other than as contemplated in Section 6.2 of the Plan, all distributions under this Plan shall
be made by the Disbursing Agent on and after the Effective Date as provided herein. The Disbursing Agent
shall not be required to give any bond or surety or other security for the performance of its duties. The
Liquidating Plan Administrator shall use all commercially reasonable efforts to provide the Disbursing
Agent with the amounts of Claims and the identities and addresses of holders of Claims, in each case, as
set forth in the books and records of the Debtors or the Wind Down Estates, as applicable. The Liquidating
Plan Administrator shall cooperate in good faith with the applicable Disbursing Agent to comply with the
reporting and withholding requirements outlined in Section 5.7 of the Plan.

                 6.7.    Rights and Powers of Disbursing Agent.

                         (a)      From and after the Effective Date, the Disbursing Agent, solely in its
capacity as Disbursing Agent, shall be exculpated by all Entities, including, without limitation, holders of
Claims against, and Interests in, the Debtors and other parties in interest, from any and all Claims, Causes
of Action, and other assertions of liability arising out of the discharge of the powers and duties conferred
upon such Disbursing Agent by the Plan or any order of the Bankruptcy Court entered pursuant to or in
furtherance of the Plan, or applicable law, except for actions or omissions to act arising out of the gross
negligence or willful misconduct, fraud, malpractice, criminal conduct, or ultra vires acts of such
Disbursing Agent. No holder of a Claim or Interest, or other party in interest, shall have or pursue any
claim or Cause of Action against the Disbursing Agent, solely in its capacity as Disbursing Agent, for
making distributions in accordance with the Plan or for implementing provisions of the Plan, except for
actions or omissions to act arising out of the gross negligence or willful misconduct, fraud, malpractice,
criminal conduct, or ultra vires acts of such Disbursing Agent.

                          (b)    The Disbursing Agent shall be empowered to (i) effect all actions and
execute all agreements, instruments, and other documents necessary to perform its duties hereunder;
(ii) make all distributions contemplated hereby; and (iii) exercise such other powers as may be vested in
the Disbursing Agent by order of the Bankruptcy Court, pursuant to the Plan or as deemed by the Disbursing
Agent to be necessary and proper to implement the provisions hereof.

                 6.8.    Expenses of Disbursing Agent.

                 Except as otherwise ordered by the Bankruptcy Court, any reasonable and documented fees
and expenses incurred by the Disbursing Agent acting in such capacity (including reasonable documented
attorneys’ fees and expenses) on or after the Effective Date shall be paid in Cash.




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                 6.9.    No Postpetition Interest on Claims.

                 Except as otherwise provided in the Plan, the Confirmation Order, another order of the
Bankruptcy Court, or the Bankruptcy Code (including postpetition interest in accordance with sections
506(b) and 726(a)(5) of the Bankruptcy Code), interest shall not accrue or be paid on any Claims on or after
the Petition Date; provided, that if interest is payable pursuant to the preceding clause, interest shall accrue
at the federal judgment rate pursuant to 28 U.S.C. § 1961 on a non-compounded basis from the date the
obligation underlying the Claim becomes due and is not timely paid through the date of payment.

                 6.10.   Delivery of Distributions.

                  Subject to Bankruptcy Rule 9010, all distributions to any holder or permitted designee, as
applicable, of an Allowed Claim or Interest shall be made to a Disbursing Agent, who shall transmit such
distribution to the applicable holders or permitted designees of Allowed Claims or Interests on behalf of
the Debtors. In the event that any distribution to any holder or permitted designee is returned as
undeliverable, no further distributions shall be made to such holder or such permitted designee unless and
until such Disbursing Agent is notified in writing of such holder’s or permitted designee’s, as applicable,
then-current address, at which time all currently-due, missed distributions shall be made to such holder as
soon as reasonably practicable thereafter without interest. Nothing herein shall require the Disbursing
Agent to attempt to locate holders or permitted designees, as applicable, of undeliverable distributions and,
if located, assist such holders or permitted designees, as applicable, in complying with Section 5.7 of the
Plan.

                 6.11.   Distributions after Effective Date.

               Distributions made after the Effective Date to holders of Disputed Claims that are not
Allowed Claims as of the Effective Date, but which later become Allowed Claims, shall be deemed to have
been made on the Effective Date.

                 6.12.   Unclaimed Property.

                  Undeliverable distributions or unclaimed distributions shall remain in the possession of the
Debtors or Wind Down Estates, as applicable, until such time as a distribution becomes deliverable or the
holder accepts the distribution, or such distribution reverts back to the Debtors or Wind Down Estates, as
applicable, and shall not be supplemented with any interest, dividends, or other accruals of any kind. Such
distributions shall be deemed unclaimed property under section 347(b) of the Bankruptcy Code at the
expiration of ninety (90) days from the date of distribution. After such date all unclaimed property or
interest in property shall revert to the Wind Down Estates and the Claim of any other holder to such property
or interest in property shall be discharged and forever barred.

                 6.13.   Time Bar to Cash Payments.

                  Checks issued by the Disbursing Agent in respect of Allowed Claims shall be null and void
if not negotiated within one hundred and twenty (120) days after the date of issuance thereof. Thereafter,
the amount represented by such voided check shall irrevocably revert to the Wind Down Estates, and any
Claim in respect of such voided check shall be discharged and forever barred, notwithstanding any federal
or state escheat laws to the contrary. Requests for re-issuance of any check shall be made to the Disbursing
Agent by the holder of the Allowed Claim to whom such check was originally issued.




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                6.14.    Manner of Payment under Plan.

                Except as otherwise specifically provided in the Plan, at the option of the Debtors or
Liquidating Plan Administrator, as applicable, any Cash payment to be made hereunder may be made by a
check or wire transfer, or ACH transfer, or as otherwise required or provided in applicable agreements or
customary practices of the Debtor.

                6.15.    Satisfaction of Claims.

                 Except as otherwise specifically provided for in the Plan and to the extent permitted by
law, any distributions and deliveries to be made on account of Allowed Claims under the Plan shall be in
complete and final satisfaction of, and exchange for, such Allowed Claims.

                6.16.    Minimum Cash Distributions.

                The Disbursing Agent shall not be required to make any distribution in an amount less than
Two Hundred and Fifty Dollars ($250) to any holder of an Allowed Claim; provided, that if any distribution
is not made pursuant to this Section 6.16, such distribution shall be added to any subsequent distribution to
be made on behalf of the holder’s Allowed Claim.

                6.17.    Setoffs and Recoupments.

                  The Debtors or Wind Down Estates, as applicable, or such entity’s designee (including,
without limitation, the Disbursing Agent) may, but shall not be required to, set off or recoup against any
Claim, and any distribution to be made on account of such Claim, any and all claims, rights, and Causes of
Action of any nature whatsoever that the Debtors or Wind Down Estates, as applicable, may have against
the holder of such Claim pursuant to the Bankruptcy Code or applicable non-bankruptcy law; provided, that
neither the failure to do so nor the allowance of any Claim hereunder shall constitute a waiver or release by
a Debtor or its successor of any claims, rights, or Causes of Action that a Debtor or its successor or assign
may possess against the holder of such Claim.

                6.18.    Allocation of Distributions between Principal and Interest.

                Except as otherwise required by law (as reasonably determined by the Liquidating Plan
Administrator), distributions with respect to an Allowed Claim shall be allocated first to the principal
portion of such Allowed Claim (as determined for U.S. federal income tax purposes) and, thereafter, to the
remaining portion of such Allowed Claim, if any.

                6.19.    No Distribution in Excess of Amount of Allowed Claim.

                Except as provided in Section 6.9 of the Plan, no holder of an Allowed Claim shall receive,
on account of such Allowed Claim, distributions in excess of the Allowed amount of such Claim.

SECTION 7.      PROCEDURES FOR DISPUTED CLAIMS.

                7.1.     Objections to Claims.

                The Debtors or the Liquidating Plan Administrator on behalf of the Wind Down Estates
shall exclusively be entitled to object to Claims. After the Effective Date, the Liquidating Plan
Administrator shall have and retain any and all rights and defenses that the Debtor had with regard to any
Claim to which they may object, except with respect to any Claim that is Allowed.



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                 7.2.    Resolution of Disputed Claims.

                  The Liquidating Plan Administrator, on behalf of each of the Wind Down Estates and
subject to the terms of the Wind Down Agreement, shall have the authority to compromise, settle, otherwise
resolve, or withdraw any objections to Senior Claims, Beltran Allowed Secured Claims, General Unsecured
Claims, and Crypto Loss Claims without approval of the Bankruptcy Court, other than with respect to Fee
Claims.

                 7.3.    Payments and Distributions with Respect to Disputed Claims.

                Notwithstanding anything herein to the contrary, if any portion of a Claim is a Disputed
Claim, no payment or distribution provided hereunder shall be made on account of such Claim unless and
until such Disputed Claim becomes an Allowed Claim.

                 7.4.    Distributions after Allowance.

                 After such time as a Disputed Claim becomes, in whole or in part, an Allowed Claim, the
holder thereof shall be entitled to distributions, if any, to which such holder is then entitled as provided in
this Plan, without interest, as provided in Section 7.8 of the Plan. Such distributions shall be made as soon
as practicable after the date that the order or judgment of the Bankruptcy Court allowing such Disputed
Claim (or portion thereof) becomes a Final Order.

                 7.5.    Estimation of Claims.

                 The Debtors or Liquidating Plan Administrator (on behalf of each of the Wind Down
Estates), as applicable, shall determine, resolve and otherwise adjudicate all contingent, unliquidated, and
Disputed Claims. The Debtor, Liquidating Plan Administrator (on behalf of each of the Wind Down
Estates), with respect to such Disputed Claims, may at any time request that the Bankruptcy Court estimate
any contingent, unliquidated, or Disputed Claim or Class of Claims pursuant to section 502(c) of the
Bankruptcy Code or otherwise, including to establish a reserve for distribution purposes, regardless of
whether such, or any, Person had previously objected to such Claim or whether the Bankruptcy Court has
ruled on any such objection. The Bankruptcy Court will retain jurisdiction to estimate any Claim or Class
of Claims at any time during litigation concerning any objection to any Claim, including, without limitation,
during the pendency of any appeal relating to any such objection. In the event that the Bankruptcy Court
estimates any contingent, unliquidated, or Disputed Claim or Class of Claims, the amount so estimated shall
constitute either the Allowed amount of such Claim or Class of Claims, or a maximum limitation on such
Claim or Class of Claims, as determined by the Bankruptcy Court. If the estimated amount constitutes a
maximum limitation on the amount of such Claim or Class of Claims, the Debtors or Liquidating Plan
Administrator, as applicable, may pursue supplementary proceedings to object to the allowance of such
Claims; provided, that such limitation shall not apply to Claims requested by the Debtors to be estimated
for voting purposes only.

                 For the avoidance of doubt, there shall be no estimation of the SEC Claim.

                 7.6.    No Distributions Pending Allowance.

                  If an objection, motion to estimate, or other challenge to a Claim is filed, no payment or
distribution provided under the Plan shall be made on account of such Claim unless and until (and only to
the extent that) such Claim becomes an Allowed Claim.




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                 7.7.    Claim Resolution Procedures Cumulative.

                All of the objection, estimation, and resolution procedures in the Plan are intended to be
cumulative and not exclusive of one another. Claims may be estimated and subsequently settled,
compromised, withdrawn, or resolved in accordance with the Plan without further notice or Bankruptcy
Court approval.

                 7.8.    Interest.

                 To the extent that a Disputed Claim becomes an Allowed Claim after the Effective Date,
the holder of such Claim shall not be entitled to any interest that accrued thereon from and after the Effective
Date, except as provided in Section 6.9 of the Plan.

SECTION 8.       EXECUTORY CONTRACTS AND UNEXPIRED LEASES.

                 8.1.    Rejection of Executory Contracts and Unexpired Leases.

                            (a)     As of and subject to the occurrence of the Effective Date, all executory
contracts and unexpired leases to which any of the Debtors are parties shall be deemed rejected, unless such
contract or lease (i) was previously assumed or rejected by the Debtors pursuant to an order of the
Bankruptcy Court; (ii) previously expired or terminated pursuant to its own terms or by agreement of the
parties thereto; (iii) is the subject of a motion to assume filed by the Debtors on or before the Effective
Date; (iv) is identified in Sections 8.4 and 8.6 of the Plan; or (v) is identified on the Assumption Schedule
included in the Plan Supplement for assumption, or assumption and assignment to a liquidating trust, if
applicable.

                         (b)      Subject to the occurrence of the Effective Date, entry of the Confirmation
Order by the Bankruptcy Court shall constitute approval of the assumptions, assumptions and assignments,
or rejections provided for in the Plan pursuant to sections 365(a) and 1123 of the Bankruptcy Code and a
determination by the Bankruptcy Court that Wind Down Estates, as applicable, have provided adequate
assurance of future performance under such assumed executory contracts and unexpired leases. Each
executory contract and unexpired lease assumed or assumed and assigned to a liquidating trust, pursuant to
the Plan shall vest in and be fully enforceable by the Wind Down Estates or such liquidating trust, as
applicable, in accordance with its terms, except as modified by the provisions of the Plan, any order of the
Bankruptcy Court authorizing and providing for its assumption, or applicable law.

                 8.2.    Determination of Assumption Disputes and Deemed Consent.

                         (a)      Any Cure Amount shall be satisfied, pursuant to section 365(b)(1) of the
Bankruptcy Code, by payment of the Cure Amount, as reflected in the applicable cure notice, in Cash on
the Effective Date, subject to the limitations described below, or on such other terms as the parties to such
executory contracts or unexpired leases and the Debtors may otherwise agree.

                            (b)      The Debtors shall file, as part of the Plan Supplement, the Assumption
Schedule. At least fourteen (14) days before the Confirmation Hearing, the Debtors shall serve a notice on
parties to executory contracts or unexpired leases to be assumed or assumed and assigned to a liquidating
trust, if applicable, reflecting the Debtors’ intention to potentially assume or assume and assign the contract
or lease in connection with this Plan and, where applicable, setting forth the proposed Cure Amount (if
any). Any objection by a counterparty to an executory contract or unexpired lease to the proposed
assumption, assumption and assignment, or related Cure Amount must be filed, served, and actually
received by the Debtors within ten (10) days of the service of the assumption notice, or such shorter



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period as agreed to by the parties or authorized by the Bankruptcy Court. Any counterparty to an
executory contract or unexpired lease that does not timely object to the notice of the proposed assumption
of such executory contract or unexpired lease shall be deemed to have assented to assumption of the
applicable executory contract or unexpired lease notwithstanding any provision thereof that purports to (i)
prohibit, restrict, or condition the transfer or assignment of such contract or lease; (ii) terminate or modify,
or permit the termination or modification of, a contract or lease as a result of any direct or indirect transfer
or assignment of the rights of any Debtor under such contract or lease or a change, if any, in the ownership
or control to the extent contemplated by the Plan; (iii) increase, accelerate, or otherwise alter any obligations
or liabilities of any Debtor, or the Wind Down Estates, under such executory contract or unexpired lease;
or (iv) create or impose a Lien upon any property or Asset of any Debtor, or Wind Down Estates, as
applicable. Each such provision shall be deemed to not apply to the assumption of such executory contract
or unexpired lease pursuant to the Plan and counterparties to assumed executory contracts or unexpired
leases that fail to object to the proposed assumption in accordance with the terms set forth in this Section
8.2(b), shall forever be barred and enjoined from objecting to the proposed assumption or to the validity of
such assumption (including with respect to any Cure Amounts or the provision of adequate assurance of
future performance), or taking actions prohibited by the foregoing or the Bankruptcy Code on account of
transactions contemplated by the Plan.

                         (c)      If there is an Assumption Dispute pertaining to assumption of an executory
contract or unexpired lease (other than a dispute pertaining to a Cure Amount), such dispute shall be heard
by the Bankruptcy Court prior to such assumption being effective; provided, that the Debtors or Wind Down
Estates, as applicable, may settle any Assumption Dispute without any further notice to any party or any
action, order, or approval of the Bankruptcy Court.

                         (d)      To the extent an Assumption Dispute relates solely to the Cure Amount,
the Debtor may assume and/or assume and assign the applicable executory contract or unexpired lease prior
to the resolution of the Assumption Dispute; provided, that the Debtors, the Wind Down Estates, or
liquidating trust, as applicable, reserve Cash in an amount sufficient to pay the full amount reasonably
asserted as the required cure payment by the non-Debtor party to the extent such executory contract or
unexpired lease (or such smaller amount as may be fixed or estimated by the Bankruptcy Court or otherwise
agreed to by such non-Debtor party and the applicable Debtor or the Wind Down Estates, as applicable).
The Debtors or Wind Down Estates, as applicable, may settle any dispute regarding the Cure Amount or
the nature thereof without any further notice to any party or any action, order, or approval of the Bankruptcy
Court.

                           (e)    Assumption or assumption and assignment of any executory contract or
unexpired lease pursuant to the Plan or otherwise shall result in the full release and satisfaction of any
Claims against any Debtor or defaults by any Debtor, whether monetary or nonmonetary, including defaults
of provisions restricting the change in control or ownership interest composition or other bankruptcy-related
defaults, arising under any assumed executory contract or unexpired lease at any time before the date that
the Debtors assume or assume and assign such executory contract or unexpired lease. Any proofs of Claim
filed with respect to an executory contract or unexpired lease that has been assumed or assumed and
assigned shall be deemed Disallowed and expunged, without further notice to or action, order, or approval
of the Bankruptcy Court or any other Entity, upon the assumption of such executory contract or unexpired
leases.

                 8.3.     Rejection Damages Claims.

                 In the event that the rejection of an executory contract or unexpired lease hereunder
results in damages to the other party or parties to such contract or lease, any Claim for such damages
shall be classified and treated in Class 4 (General Unsecured Claims). A proof of such Claim must


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be filed with the Bankruptcy Court by the later of (i) thirty (30) days after the filing and service of
the notice of occurrence of the Effective Date; (ii) the general bar date or governmental bar date, as
applicable; and (iii) thirty (30) days following service of an Order approving rejection of any
executory contract or unexpired lease of the Debtors if such contract or lease is the subject of a
pending Assumption Dispute.

                 8.4.     Insurance Policies.

                  Notwithstanding anything to the contrary in the Definitive Documents, the Plan, the Plan
Supplement, any bar date notice, or claim objection, and any other document related to any of the foregoing,
and any other order of the Bankruptcy Court, on the Effective Date: (a) all insurance policies issued or
providing coverage to the Debtors shall (subject to the applicable insurer’s right to object to such a
designation) be assumed in their entirety by the Debtors pursuant to sections 365 and 1123 of the
Bankruptcy Code, and coverage for defense costs and indemnification under the D&O Policies shall remain
available to all individuals within the definition of “Insured” in the D&O Policies, and Wind Down Estates,
or Liquidating Plan Administrator, as applicable, shall remain liable in full for any and all now existing or
hereinafter arising obligations, liabilities, terms, provisions and covenants of any of the Debtors under such
insurance policies, without the need or requirement for an insurer to file a Proof of Claim, Administrative
Expense Claim or objection to any cure amount; (b) nothing shall alter or modify the terms and conditions
of and/or any rights, obligations, benefits, claims, rights to payments, or recoveries under the insurance
policies without the express written consent of the applicable insurer; and (c) the automatic stay of
Bankruptcy Code section 362(a) and the injunctions set forth in the Plan, if and to the extent applicable,
shall be deemed lifted without further order of this Court, solely to permit: (i) claimants with valid workers’
compensation claims or direct action claims against an insurer under applicable nonbankruptcy law to
proceed with their claims; (ii) insurers to administer, handle, defend, settle, and/or pay, in the ordinary
course of business and without further order of the Bankruptcy Court, (I) workers’ compensation claims,
(II) claims where a claimant asserts a direct claim against any insurer under applicable non-bankruptcy law,
or an order has been entered by the Bankruptcy Court granting a claimant relief from the automatic stay to
proceed with its claim, and (III) all costs in relation to each of the foregoing; (iii) the insurers to cancel any
insurance policies, and take other actions relating thereto, to the extent permissible under applicable non-
bankruptcy law, and in accordance with the terms of the insurance policies; and (iv) holders of Allowed
Claims to pursue insurance recovery.

                 8.5.     Indemnification Obligations

                 Any obligations of the Debtors pursuant to a contract, instrument, agreement, certificate of
incorporation, constitution, by-law, comparable organizational document or any other document or
applicable law, to indemnify, reimburse, or limit the liability of any director, officer, or employee of the
Debtors, pursuant to the foregoing in respect of any claims, demands, suits, causes of action, or proceedings
against such director, officer, or employee based upon any act or omission related to such director or
officer’s service with, for, or on behalf of the Debtors prior to the Effective Date with respect to all present
and future actions, suits, and proceedings relating to the Debtors shall survive Confirmation of the Plan and
except as set forth herein, remain unaffected thereby, and shall not be discharged, irrespective of whether
such defense, indemnification, reimbursement, or limitation of liability accrued or is owed in connection
with an occurrence before or after the Petition Date; provided, however, that all monetary obligations under
this provision shall, to the extent Allowed, be treated as General Unsecured Claims or 510(c) Subordinated
Claims, as determined by the Court. The Liquidating Plan Administrator reserves all legal and equitable
rights and defenses in respect of any claims asserted by any current or former officers, directors, or
employees of the Debtors. For the avoidance of doubt, the scope of the Debtors’ indemnification
obligations in this Section 8.5 shall be conterminous with applicable non-bankruptcy law and to the extent



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provided by such law. For the avoidance of doubt, any claim for indemnification for amounts payable after
the Effective Date shall not constitute an Allowed Claim unless approved by the Bankruptcy Court.

                 8.6.    Intellectual Property Licenses and Agreements.

                   Notwithstanding anything to the contrary in the Definitive Documents, the Plan, the Plan
Supplement, any bar date notice or claim objection, and any other document related to any of the foregoing,
all intellectual property contracts, licenses, royalties, or other similar agreements to which the Debtors have
any rights or obligations in effect as of the date of the Confirmation Order shall be deemed assumed by the
Debtors and the Wind Down Estates and shall continue in full force and effect unless any such intellectual
property contract, license, royalty, or other similar agreement otherwise is specifically rejected pursuant to
a separate order of the Bankruptcy Court or is the subject of a separate rejection motion filed by the Debtors
in accordance with Section 8.1 of the Plan. Unless otherwise noted hereunder, all other intellectual property
contracts, licenses, royalties, or other similar agreements shall vest in the Wind Down Estates, and the Wind
Down Estates may take all actions as may be necessary or appropriate to ensure such vesting as
contemplated herein.

                 8.7.    Assignment.

                  To the extent provided under the Bankruptcy Code or other applicable law, any executory
contract or unexpired lease transferred and assigned to a liquidating trust hereunder, if applicable, shall
remain in full force and effect for the benefit of the transferee or assignee in accordance with its terms,
notwithstanding any provision in such executory contract or unexpired lease (including those of the type
set forth in section 365(b)(2) of the Bankruptcy Code) that prohibits, restricts, or conditions such transfer
or assignment. To the extent provided under the Bankruptcy Code or other applicable law, any provision
that prohibits, restricts, or conditions the assignment or transfer of any such executory contract or unexpired
lease or that terminates or modifies such executory contract or unexpired lease or allows the counterparty
to such executory contract or unexpired lease to terminate, modify, recapture, impose any penalty, condition
renewal or extension, or modify any term or condition upon any such transfer and assignment, constitutes
an unenforceable anti-assignment provision and is void and of no force or effect with respect to any
assignment pursuant to the Plan.

                 8.8.    Modifications, Amendments, Supplements, Restatements, or Other Agreements.

                Unless otherwise provided herein or by separate order of the Bankruptcy Court, each
executory contract and unexpired lease that is assumed shall include any and all modifications,
amendments, supplements, restatements, or other agreements made directly or indirectly by any agreement,
instrument, or other document that in any manner affects such executory contract or unexpired lease,
without regard to whether such agreement, instrument, or other document is listed in the notice of assumed
contracts.

                 8.9.    Reservation of Rights.

                         (a)     The Debtors may amend the Assumption Schedule, with the consent of the
Creditors’ Committee, not to be unreasonably withheld, and any cure notice until five (5) Business Days
immediately prior to the commencement of the Confirmation Hearing in order to (i) add, delete, or reclassify
any executory contract or unexpired lease or amend a proposed assumption or assumption and assignment
and/or (ii) amend the proposed Cure Amount; provided, that if the Confirmation Hearing is adjourned for
a period of more than two (2) consecutive calendar days, the Debtors’ right to amend such schedules and
notices shall be extended to the Business Day immediately prior to the adjourned date of the Confirmation
Hearing, with such extension applying in the case of any and all subsequent adjournments of the



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Confirmation Hearing. The Debtors shall provide notice of such amendment to any affected counterparty
as soon as reasonably practicable.

                           (b)     Neither the exclusion nor inclusion of any contract or lease by the Debtors
on any exhibit, schedule, or other annex to the Plan or in the Plan Supplement, nor anything contained in
the Plan, will constitute an admission by the Debtors that any such contract or lease is or is not in fact an
executory contract or unexpired lease or that the Debtors, or Wind Down Estates, or their respective
affiliates have any liability thereunder.

                         (c)     Except as otherwise provided in the Plan, nothing herein shall waive,
excuse, limit, diminish, or otherwise alter any of the defenses, Claims, Causes of Action, or other rights of
the Debtors and Wind Down Estates, under any executory or non-executory contract or any unexpired or
expired lease.

                         (d)      Nothing in the Plan will increase, augment, or add to any of the duties,
obligations, responsibilities, or liabilities of the Debtors, Wind Down Estates, as applicable, under any
executory or non-executory contract or any unexpired or expired lease.

SECTION 9.      CONDITIONS PRECEDENT TO THE EFFECTIVE DATE.

                9.1.       Conditions Precedent to the Effective Date.

                The occurrence of the Effective Date of the Plan is subject to the following conditions
precedent:

                        (a)    the Bankruptcy Court shall have entered the Confirmation Order, the
Confirmation Date shall have occurred, and no stay of the Confirmation Order shall be in effect;

                         (b)     all agreements necessary to implement the Plan, shall have (i) been
tendered for delivery and (ii) been effected or executed by all Entities party thereto, and all conditions
precedent to the effectiveness of such documents and agreements shall have been satisfied or waived
pursuant to the terms of such documents or agreements;

                         (c)      the documents contained in the Plan Supplement will contain terms and
conditions consistent in all material respects with this Plan;

                           (d)    the Fee Escrow Account shall have been established and funded;

                      (e)     the Wind Down Reserve shall have been funded with the Wind Down
Amount in accordance with the Wind Down Budget;

                           (f)    the SEC Settlement Fund shall have been established and funded;

                           (g)    the Senior Claim Pool shall have been established and funded; and

                           (h)    the GUC Pool shall have been established and funded with Effective Date
Available Cash (if any).

                Notwithstanding when a condition precedent to the Effective Date occurs, for purposes of
the Plan, such condition precedent shall be deemed to have occurred simultaneously upon the completion
of the applicable conditions precedent to the Effective Date; provided, that to the extent a condition



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precedent (a “Prerequisite Condition”) may be required to occur prior to another condition precedent (a
“Subsequent Condition”) then, for purposes of the Plan, the Prerequisite Condition shall be deemed to have
occurred immediately prior to a Subsequent Condition regardless of when such Prerequisite Condition or
Subsequent Condition shall have occurred.

                 9.2.    Waiver of Conditions Precedent.

                          (a)     Except as otherwise provided herein, all actions required to be taken on
the Effective Date shall take place and shall be deemed to have occurred simultaneously and no such action
shall be deemed to have occurred prior to the taking of any other such action. Each of the conditions
precedent in Section 9.1 of the Plan other than the conditions set forth in Section 9.1(b) may be waived in
writing by the Debtors, with the consent of the Creditors’ Committee, not to be unreasonably withheld,
without leave of or order of the Bankruptcy Court.

                        (b)      The stay of the Confirmation Order pursuant to Bankruptcy Rule 3020(e)
shall be deemed waived by and upon the entry of the Confirmation Order, and the Confirmation Order shall
take effect immediately upon its entry.

                 9.3.    Effect of Failure of Conditions to Effective Date.

                  Unless otherwise extended by the Debtors, if the Effective Date does not occur on or before
the date that is one hundred and eighty (180) days after the date on which the Confirmation Order is entered
or if the Confirmation Order is vacated, (a) no distributions under the Plan shall be made, (b) the Debtors
and all holders of Claims and Interests shall be restored to the status quo ante as of the day immediately
preceding the Confirmation Date as though the Confirmation Date never occurred, and (c) all the Debtors’
obligations with respect to the Claims and the Interests shall remain unchanged and nothing contained
herein shall be deemed to constitute a waiver or release of any Claims by or against the Debtors or any
other entity or to prejudice in any manner the rights of the Debtors or any other entity in any further
proceedings involving the Debtor or otherwise.

SECTION 10. EFFECT OF CONFIRMATION.

                 10.1.   Vesting of Assets.

                           (a)     On the Effective Date pursuant to sections 1141(b) and (c) of the
Bankruptcy Code, all remaining property of the Debtors’ Estates and any Estate Causes of Action, including
the SEC Settlement Fund, shall vest in the Wind Down Estates free and clear of all Claims, Liens,
encumbrances, charges, and other interests, subject to treatment of Other Secured Claims under the Plan.
On and after the Effective Date, the Wind Down Estates may take any action, including, without limitation,
the operation of their businesses; the use, acquisition, sale, lease and disposition of property; and the entry
into transactions, agreements, understandings, or arrangements, whether in or other than in the ordinary
course of business, and execute, deliver, implement, and fully perform any and all obligations, instruments,
documents, and papers or otherwise in connection with any of the foregoing, free of any restrictions of the
Bankruptcy Code or Bankruptcy Rules and in all respects as if there was no pending case under any chapter
or provision of the Bankruptcy Code, except as expressly provided herein. Without limiting the foregoing,
the Wind Down Estates may pay the charges that they incur on or after the Effective Date for professional
fees, disbursements, expenses, or related support services without application to the Bankruptcy Court.
Notwithstanding the foregoing, vesting of property in which any governmental unit holds an interest, and
for which title vests in the Debtors subject to regulatory requirements under a governmental grant or award,
including but not limited to, the requirements of 10 C.F.R. 600.321, shall be limited to the extent of the
Debtors’ interest in such property; and the Wind Down Estates may only take action, including but not



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limited to the use, acquisition, sale, lease, and disposition of such property, in accordance with applicable
non-bankruptcy law.

                10.2.    Term of Injunctions or Stays.

                Unless otherwise provided herein, the Confirmation Order, or in a Final Order of the
Bankruptcy Court, all injunctions or stays arising under or entered during the Chapter 11 Cases under
section 105 or 362 of the Bankruptcy Code, or otherwise, and in existence on the Confirmation Date, shall
remain in full force and effect until the later of the Effective Date and the date indicated in the order
providing for such injunction or stay.

                10.3.    Injunction.

                From and after the Effective Date through and until Wind Down Completion Date:

                        (a)    All holders of Claims and Interests and other parties in interest, along
with their respective present or former employees, agents, officers, directors, principals, and
affiliates, shall be enjoined from taking any actions to interfere with the implementation or
consummation of the Plan in relation to any Claim extinguished, discharged, or released pursuant to
the Plan.

                         (b)     Except as expressly provided in the Plan, the Definitive Documents,
the Confirmation Order, or a separate order of the Bankruptcy Court or as agreed to by the Debtors
and a holder of a Claim against or Interest in the Debtors, all Entities who have held, hold, or may
hold Claims against or Interests in the Debtors (whether proof of such Claims or Interests has been
filed or not and whether or not such Entities vote in favor of, against or abstain from voting on the
Plan or are presumed to have accepted or deemed to have rejected the Plan) and other parties in
interest, along with their respective present or former employees, agents, officers, directors,
principals, and affiliates are permanently enjoined, solely with respect to any Claims, Interests, and
Causes of Action that will be or are treated by the Plan from (i) commencing, conducting, or
continuing in any manner, directly or indirectly, any suit, action, or other proceeding of any kind
(including, without limitation, any proceeding in a judicial, arbitral, administrative or other forum)
against or affecting the Debtors, the Wind Down Estates, or the Liquidating Plan Administrator, as
applicable, or the property of any of the Debtors, the Wind Down Estates, or the Liquidating Plan
Administrator, as applicable; (ii) enforcing, levying, attaching (including, without limitation, any
prejudgment attachment), collecting, or otherwise recovering by any manner or means, whether
directly or indirectly, any judgment, award, decree, or order against the Debtors, the Wind Down
Estates, or the Liquidating Plan Administrator, or the property of any of the Debtors, or the Wind
Down Estates, as applicable; (iii) creating, perfecting, or otherwise enforcing in any manner, directly
or indirectly, any encumbrance of any kind against the Debtors, the Wind Down Estates, or the
property of any of the Debtors, the Wind Down Estates, or the Liquidating Plan Administrator, as
applicable; (iv) asserting any right of setoff, directly or indirectly, against any obligation due from
the Debtors, or the Wind Down Estates, as applicable, or against property or interests in property of
any of the Debtors, or the Wind Down Estates, except as contemplated or Allowed by the Plan; and
(v) acting or proceeding in any manner, in any place whatsoever, that does not conform to or comply
with the provisions of the Plan.

                        (c)      By accepting distributions pursuant to the Plan, each holder of an
Allowed Claim or Interest extinguished, discharged, or released pursuant to the Plan will be deemed
to have affirmatively and specifically consented to be bound by the Plan, including, without
limitation, the injunctions set forth in this Section 10.3.


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                      (d)   The injunctions in this Section 10.3 shall extend to any successors of
the Debtor, or the Wind Down Estates, as applicable, and their respective property and interests in
property.

                        (e)     Notwithstanding the foregoing, nothing in this Section 10.3 shall
enjoin the assertion of a defensive right of recoupment.

                       (f)       Nothing in the Plan or Confirmation Order shall (1) enjoin, release,
impair or otherwise preclude the United States (i) from pursuing, commencing, continuing or
enforcing any criminal action or any police or regulatory action against the Debtors or any non-
debtor person or entity, (ii) from pursuing any liability to the United States that is not a Claim, (iii)
from exercising any rights of setoff or recoupment subsequent to confirmation of the Plan or any
order granting substantive consolidation, and such rights are preserved, and (iv) from pursuing any
claim of the United States arising on or after the Confirmation Date; and (2) grant the Debtors a
discharge pursuant to section 1141(d) of the Bankruptcy Code.

                10.4.    Debtors are Not Entitled to a Discharge.

                Nothing in the Plan or the Confirmation Order shall grant the Debtors a discharge pursuant
to section 1141(d) of the Bankruptcy Code.

                10.5.    Binding Effect.

                  As of the Effective Date, the Plan shall bind all holders of Claims against and Interests in
the Debtors and their respective successors and assigns, notwithstanding whether any such holders were
(a) Impaired or Unimpaired under the Plan; (b) deemed to accept or reject the Plan; (c) failed to vote to
accept or reject the Plan; (d) voted to reject the Plan; or (e) received any distribution under the Plan.

                10.6.    Releases by the Debtors.

                 Effective as of the Effective Date, pursuant to section 1123(b) of the Bankruptcy Code, in
exchange for good and valuable consideration, the adequacy of which is hereby confirmed, including,
without limitation, the service of the Released Parties before and during the Chapter 11 Case, to the fullest
extent allowed by applicable law, as such law may be extended subsequent to the Effective Date, each
Released Party is hereby deemed conclusively, absolutely, unconditionally, irrevocably, and forever
released and discharged by each and all of the Debtors, their Estates, the Wind Down Estates and the
Liquidating Plan Administrator, as may be applicable, and any Estate representative appointed or selected
pursuant to section 1123(b)(3) of the Bankruptcy Code, as may be applicable, in each case on behalf of
themselves and their respective successors, assigns, and representatives, and any and all other Persons or
Entities who may purport to assert any claim or Cause of Action, directly or derivatively, by, through, or
for the foregoing Entities, from any and all Released Claims.

                   Notwithstanding anything to the contrary in the foregoing, the releases set forth above do
not release (a) any obligations arising on or after the Effective Date of any party or Entity under the Plan,
the Confirmation Order, or any document, instrument, or agreement (including those set forth in any Plan
Supplement) executed to implement the Plan, (b) any Released Party from Claims or Causes of Action
arising from an act or omission that is judicially determined by a Final Order to have constituted actual
fraud, willful misconduct, criminal misconduct, or gross negligence, (c) Causes of Action against Released
Parties, if any, listed on the Schedule of Retained Causes of Action; (d) rights reserved under the Dentons
Retention Order; (e) any avoidance actions relating to private wallet transactions that occurred prior to the
Petition Date other than payment of legal fees and related vendors who provided services and acted in good



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faith in receiving fees from private wallets related or relating to the Chapter 11 Cases, the defense of the
SEC Enforcement Action and the investigation that preceded it, the defense of civil claims brought against
TFL that have been dismissed, and the pending criminal proceedings and investigations, except for any
avoidance actions subject to the reservation of rights set forth in (d) hereof which are fully preserved; (f)
the SEC Settlement.

                 10.7.    Exculpation.

                  Effective as of the Effective Date, to the fullest extent permissible under applicable law
and without affecting or limiting either the Releases by the Debtors or the Releases by Holders of Claims
and Interests, no Exculpated Party shall have or incur liability for, and each Exculpated Party hereby is
exculpated from any claim, Cause of Action, obligation, suit, judgment, damage, demand, loss, or liability
for any claim related to, any act or omission taken on or after the Petition Date and prior to the Effective
Date in connection with, relating to, or arising out of the Chapter 11 Cases, the preparation for, filing,
negotiation, solicitation, confirmation, execution, or implementation (to the extent on or after the Petition
Date and prior to the Effective Date) of, as applicable, the Plan (including, for the avoidance of doubt, any
Plan Supplement), the Disclosure Statement, or any restructuring transaction, contract, instrument, release,
or other agreement or document created, filed, or entered into during the Chapter 11 Cases in connection
with the Chapter 11 Cases, the management of the Debtors’ cash and cryptocurrency assets during the
Chapter 11 Cases (including the trading and sales of cryptocurrencies and tokens in connection with the
Chapter 11 Cases), the Debtors’ or Wind Down Estates’ receipt of assets from LFG pursuant to the SEC
Settlement, the annual financial statements prepared pursuant to Singapore Companies Act requirements,
the recognition application for recognition proceedings in Singapore, the Plan, the Disclosure Statement,
the SEC Settlement, the Definitive Documents, the pursuit or consummation of any sale transactions during
the Chapter 11 Cases, the administration and implementation of the Wind Down, the pursuit of
Confirmation, the pursuit of Consummation, the administration and implementation of the Plan, including
the distribution of property under the Plan or any other related agreement, or upon any other related act, or
omission, transaction, agreement, event, or other occurrence related or relating to any of the foregoing
taking place on or after the Petition Date and before the Effective Date , except for claims related to any act
or omission that is determined in a Final Order by a court of competent jurisdiction to have constituted bad
faith, fraud, willful misconduct, criminal misconduct, or gross negligence.

                   The Exculpated Parties who have participated in any conduct referenced in section 1125(e)
of the Bankruptcy Code and on terms compliant therewith, are not, and on account of such conduct, shall
not be, liable at any time for the violation of any applicable law, rule, or regulation governing the solicitation
of acceptances or rejections of the Plan or the offer, issuance, sale or purchase of a security under the Plan,
to the extent permitted by section 1125(e) of the Bankruptcy Code. This exculpation shall be in addition
to, and not in limitation of, all other releases, indemnities, exculpations, and any other applicable laws,
rules, or regulations protecting such Exculpated Parties from liability. Notwithstanding anything to the
contrary in the foregoing, the exculpation set forth above shall not be construed as exculpating any party or
entity from its post-Effective Date obligations under the Plan, or any document, instrument, or agreement
(including those set forth in any Plan Supplement) executed to implement the Plan.

                 10.8.    Additional Provisions Regarding Governmental Units.

                Notwithstanding any language to the contrary contained in the Plan, and/or the Plan
Confirmation Order, no provision of this Plan or the Plan Confirmation Order shall (i) preclude the SEC
from enforcing its police or regulatory powers; or (ii) enjoin, limit, impair, or delay the SEC from
commencing or continuing any claims, causes of action, proceedings or investigations against any non-
debtor Person or entity in any forum.



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                 10.9.   Solicitation of the Plan.

                 As of and subject to the occurrence of the Confirmation Date, to the extent they have
participated in any conduct referenced in section 1125(e) of the Bankruptcy Code and on terms compliant
therewith, the Debtors and each of their respective directors, who served in such capacity on or after the
Petition Date, officers, employees, claims and noticing agents, financial advisors, investment bankers,
professionals, accountants, and attorneys (but for the avoidance of doubt, not the Debtors’ current or former
shareholders) shall not be liable at any time for the violation of any applicable law, rule, or regulation
governing the solicitation of acceptances or rejections of the Plan or the offer, issuance, sale or purchase of
a security under the Plan, to the extent provided in Section 1125(e) of the Bankruptcy Code.

                 10.10. Corporate Action.

                 Upon the Effective Date, by virtue of the solicitation of votes in favor of this Plan and entry
of the Confirmation Order, all actions contemplated by this Plan (including any action to be undertaken by
the Liquidating Plan Administrator) shall be deemed authorized, approved, and, to the extent taken prior to
the Effective Date, ratified without any requirement for further action by holders of Claims or Interests, the
Debtors, or any other Entity or Person. All matters provided for in this Plan involving the corporate
structure of the Debtors, and any corporate action required by the Debtors in connection therewith, shall be
deemed to have occurred on the Effective Date and shall be in effect, without any requirement of further
action by the Debtors or the Estates.

SECTION 11. RETENTION OF JURISDICTION.

                 11.1.   Retention of Jurisdiction.

                 On and after the Effective Date, the Bankruptcy Court shall retain jurisdiction over all
matters arising in, arising under, and related to the Chapter 11 Cases for, among other things, the following
purposes:

                  (a)      to hear and determine motions and/or applications for the assumption or rejection
of executory contracts or unexpired leases, including Assumption Disputes, and the allowance,
classification, priority, compromise, estimation, or payment of Claims resulting therefrom;

                 (b)     to determine any motion, adversary proceeding, application, contested matter, and
other litigated matter pending on or commenced after the Confirmation Date;

                (c)      to ensure that distributions to holders of Allowed Claims are accomplished as
provided for in the Plan and Confirmation Order, including to ensure that an Allowed Claim does not
receive consideration in excess of the Allowed amount of such Claim, and to adjudicate any and all disputes
arising from or relating to distributions under the Plan, including, cases, controversies, suits, disputes, or
Causes of Action with respect to the repayment or return of distributions and the recovery of additional
amounts owed by the holder of a Claim or Interest for amounts not timely paid;

               (d)    to consider the allowance, classification, priority, compromise, estimation, or
payment of any Claim or Class of Claims;

               (e)      to enter, implement, or enforce such orders as may be appropriate in the event the
Confirmation Order is for any reason stayed, reversed, revoked, modified, or vacated;




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               (f)      to issue injunctions, enter and implement other orders, and take such other actions
as may be necessary or appropriate to restrain interference by any Entity with the consummation,
implementation, or enforcement of the Plan, the Confirmation Order, or any other order of the Bankruptcy
Court;

                 (g)      to hear and determine any application to modify the Plan in accordance with
section 1127 of the Bankruptcy Code, to remedy any defect or omission or reconcile any inconsistency in
the Plan, or any order of the Bankruptcy Court, including the Confirmation Order, in such a manner as may
be necessary to carry out the purposes and effects thereof;

                (h)     to hear and determine all applications and proceedings to approve Fee Claims;

                (i)     to hear and determine disputes arising in connection with the interpretation,
implementation, or enforcement of the Plan, the Plan Supplement, or the Confirmation Order, or any
agreement, instrument, or other document governing or relating to any of the foregoing;

               (j)     to take any action and issue such orders as may be necessary to construe, interpret,
enforce, implement, execute, and consummate the Plan;

               (k)      to determine such other matters and for such other purposes as may be provided in
the Confirmation Order;

                (l)     to hear and determine matters concerning state, local, and federal taxes in
accordance with sections 346, 505, and 1146 of the Bankruptcy Code (including any requests for expedited
determinations under section 505(b) of the Bankruptcy Code);

                (m)    to hear, adjudicate, decide, or resolve any and all matters related to Section 10 of
the Plan, including, without limitation, the releases, discharge, exculpations, and injunctions issued
thereunder;

                (n)     to resolve disputes concerning Disputed Claims or the administration thereof;

               (o)    to hear and determine any other matters related hereto and not inconsistent with
the Bankruptcy Code and title 28 of the United States Code;

                (p)     to enter one or more final decrees closing the Chapter 11 Cases;

                (q)     to recover all Assets of the Debtors and property of the Debtors’ Estates, wherever
located and adjudicate any disputes with respect thereto;

                (r)     to resolve any disputes concerning whether an Entity had sufficient notice of the
Chapter 11 Cases, the Disclosure Statement, any solicitation conducted in connection with the Chapter 11
Cases, any bar date established in the Chapter 11 Cases, or any deadline for responding or objecting to a
Cure Amount, in each case, for the purpose of determining whether a Claim or Interest is discharged
hereunder or for any other purpose;

                  (s)      to hear and resolve any dispute over the application to any Claim of any limit on
the allowance of such Claim set forth in sections 502 or 503 of the Bankruptcy Code, other than defenses
or limits that are asserted under non-bankruptcy law pursuant to section 502(b)(1) of the Bankruptcy Code;
and




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                 (t)     to enforce all orders previously entered by the Bankruptcy Court in the Chapter 11
Cases.

                 11.2.   Courts of Competent Jurisdiction.

                 If the Bankruptcy Court abstains from exercising, or declines to exercise, jurisdiction or is
otherwise without jurisdiction over any matter arising out of the Plan, such abstention, refusal, or failure of
jurisdiction shall have no effect upon and shall not control, prohibit, or limit the exercise of jurisdiction by
any other court having competent jurisdiction with respect to such matter.

SECTION 12. MISCELLANEOUS PROVISIONS.

                 12.1.   Payment of Statutory Fees.

                  On the Effective Date and thereafter as may be required, the Debtors or the Liquidating
Plan Administrator, as applicable, shall pay all Statutory Fees that are due and payable, together with
interest, if any, pursuant to § 3717 of title 31 of the United States Code for each Debtor’s case (the
“Quarterly Fees”). After the Effective Date, the Wind Down Estates and the Liquidating Plan
Administrator, as applicable, shall pay any and all Quarterly Fees when due and payable. The Debtors shall
file all monthly operating reports due prior to the Effective Date when they become due, using UST Form
11-MOR. After the Effective Date, the Wind Down Estates and the Liquidating Plan Administrator, as
applicable shall file with the Bankruptcy Court separate UST Form 11-PCR reports when they become
due. Notwithstanding anything called for in the Plan to the contrary, the Wind Down Estates and the
Liquidating Plan Administrator, as applicable, shall remain obligated to pay Quarterly Fees to the Office of
the U.S. Trustee and make such reports until the earliest of that particular Debtor's case being closed,
dismissed, or converted to a case under Chapter 7 of the Bankruptcy Code. The U.S. Trustee shall not be
required to file any Administrative Claim in the case and shall not be treated as providing any release under
the Plan. The obligations under this Section 12.1 shall remain for each Debtor until such time as a final
decree is entered closing the Chapter 11 Case for such Debtor, a Final Order converting such Debtor’s
Chapter 11 Case to a case under chapter 7 of the Bankruptcy Code is entered, or a Final Order dismissing
such Debtor’s Chapter 11 Case is entered.

                 12.2.   Substantial Consummation.

                On the Effective Date, the Plan shall be deemed to be substantially consummated under
sections 1101 and 1127(b) of the Bankruptcy Code.

                 12.3.   Dissolution of Creditors’ Committee.

                 On the Effective Date, the Creditors’ Committee, if any, shall dissolve, and the members
thereof shall be released and discharged from all rights and duties arising from, or related to, the Chapter
11 Cases; provided, however, that after the Effective Date, the Creditors’ Committee shall exist and its
professionals shall continue to be retained and shall continue to be entitled to reasonable compensation by
the Debtors without the need for further application to the Bankruptcy Court with respect to all applications
filed pursuant to sections 330 and 331 of the Bankruptcy Code and any related hearings.

                 12.4.   Amendments.

                       (a)      Plan Modifications. The Debtors reserve the right, with the consent of the
Creditors’ Committee, not to be unreasonably withheld, in accordance with the Bankruptcy Code and the
Bankruptcy Rules, to amend or modify the Plan (i) prior to the entry of the Confirmation Order, including



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amendments or modifications to satisfy section 1129(b) of the Bankruptcy Code, and (ii) after entry of the
Confirmation Order, the Debtors may, upon order of the Court, amend, modify or supplement the Plan in
the manner provided for by section 1127 of the Bankruptcy Code or as otherwise permitted by law, in each
case without additional disclosure pursuant to section 1125 of the Bankruptcy Code. In addition, after the
Confirmation Date, so long as such action does not materially and adversely affect the treatment of holders
of Allowed Claims or Allowed Interests pursuant to the Plan, the Debtors may remedy any defect or
omission or reconcile any inconsistencies in this Plan or the Confirmation Order with respect to such
matters as may be necessary to carry out the purposes or effects of this Plan, and any holder of a Claim or
Interest that has accepted this Plan shall be deemed to have accepted this Plan as amended, modified, or
supplemented.

                        (b)     Other Amendments. Before the Effective Date, the Debtors may make
appropriate technical adjustments and modifications to the Plan and the documents contained in the Plan
Supplement without further order or approval of the Bankruptcy Court.

                 12.5.   Revocation or Withdrawal of the Plan.

                  The Debtors reserve the right to revoke or withdraw the Plan, including the right to revoke
or withdraw this Plan for any Debtor of all Debtors, prior to the Confirmation Date. If the Debtors revoke
or withdraw the Plan, or if Confirmation or the Effective Date does not occur, in each case with respect to
a Debtor, then, with respect to such Debtor: (a) this Plan shall be null and void in all respects; (b) any
assumption or rejection of executory contracts or unexpired leases effected by this Plan, and any document
or agreement executed pursuant to this Plan, shall be deemed null and void; and (c) nothing contained in
the Plan shall: (i) constitute a waiver or release of any Claims or Interests; (ii) prejudice in any manner the
rights of the Debtors, the Estates, or any other Entity; or (iii) constitute an admission, acknowledgement,
offer, or undertaking of any sort by the Debtors, the Estates, or any other Entity.

                 12.6.   Severability of Plan Provisions upon Confirmation.

                  If, prior to the entry of the Confirmation Order, any term or provision of this Plan is held
by the Bankruptcy Court to be invalid, void, or unenforceable, the Bankruptcy Court, at the request of the
Debtors shall have the power to alter and interpret such term or provision to make it valid or enforceable to
the maximum extent practicable, consistent with the original purpose of the term or provision held to be
invalid, void, or unenforceable, and such term or provision shall then be applicable as altered or interpreted.
Notwithstanding any such holding, alteration or interpretation, the remainder of the terms and provisions
of this Plan will remain in full force and effect and will in no way be affected, impaired or invalidated by
such holding, alteration or interpretation. The Confirmation Order shall constitute a judicial determination
and shall provide that each term and provision of this Plan, as it may have been altered or interpreted in
accordance with the foregoing, is (a) valid and enforceable pursuant to its terms; (b) integral to this Plan
and may not be deleted or modified without the consent of the Debtors or the Wind Down Estates (as the
case may be); and (3) nonseverable and mutually dependent.

                 12.7.   Governing Law.

                Unless a rule of law or procedure is supplied by federal law (including the Bankruptcy
Code and Bankruptcy Rules) or unless otherwise specifically stated herein, the laws of the State of
Delaware, without giving effect to the principles of conflict of laws, shall govern the rights, obligations,
construction, and implementation of this Plan, any agreements, documents, instruments, or contracts
executed or entered into in connection with this Plan (except as otherwise set forth in those agreements, in
which case the governing law of such agreement shall control); provided, that corporate or limited liability




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company governance matters relating to the Debtors shall be governed by the laws of the state of
incorporation or formation (as applicable) of the applicable Debtor.

                12.8.    Time.

                 In computing any period of time prescribed or allowed by this Plan, unless otherwise set
forth herein or determined by the Bankruptcy Court, the provisions of Bankruptcy Rule 9006 shall apply.

                12.9.    Additional Documents

                 On or before the Effective Date, the Debtors may file with the Bankruptcy Court such
agreements and other documents as may be necessary or appropriate to effectuate and further evidence the
terms and conditions of this Plan. The Debtors and all holders of Claims or Interests receiving distributions
pursuant to this Plan and all other parties in interest are authorized to prepare, execute, and deliver any
agreements or documents and take any other actions as may be necessary or advisable to effectuate the
provisions and intent of this Plan.

                12.10. Retention of Books and Records.

                Neither the Debtor nor the Wind Down Estates shall destroy or otherwise abandon any
such books, records, electronically stored information, or other documents without authorization from the
Bankruptcy Court and without providing advance notice to the SEC (c/o Therese A. Scheuer and Michael
Kelly, U.S. Securities and Exchange Commission, 100 F Street, NE, Washington, DC 20549,
Scheuert@sec.gov; Kellymich@sec.gov and William M Uptegrove, U.S. Securities and Exchange
Commission, 950 East Paces Ferry Road, NE, Suite 900, Atlanta, GA 30326, UptegroveW@SEC.GOV),
which shall have seven (7) days to object to any proposed destruction or abandonment; provided that,
nothing in the Plan or the Confirmation Order shall affect the obligations of the Debtors, the Wind Down
Estates, and/or any transferee or custodian to maintain any books and records that are subject to any
governmental subpoena, document preservation letter, or other investigative request from a governmental
agency. The Wind Down Budget shall include an amount appropriate to fund this obligation.

                12.11. Immediate Binding Effect.

                 Notwithstanding Bankruptcy Rules 3020(e), 6004(h), or 7062 or otherwise, upon the
occurrence of the Effective Date, the terms of this Plan and the Plan Supplement shall be immediately
effective and enforceable and deemed binding upon and inure to the benefit of the Debtors, the Wind Down
Estates, the holders of Claims and Interests, the Released Parties, the Exculpated Parties, and each of their
respective successors and assigns, including, without limitation, the Liquidating Plan Administrator.

                12.12. Successors and Assigns.

                  The rights, benefits, and obligations of any Person named or referred to in this Plan shall
be binding on, and shall inure to the benefit of any heir, executor, administrator, successor or permitted
assign, if any, of each Entity.

                12.13. Entire Agreement.

                On the Effective Date, this Plan, the Plan Supplement and the Confirmation Order shall
supersede all previous and contemporaneous negotiations, promises, covenants, agreements,
understandings, and representations on such subjects, all of which have become merged and integrated into
the Plan.



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                12.14. Notices.

                All notices, requests and demands to or upon the Debtors to be effective shall be in writing
(including by facsimile transmission) and, unless otherwise expressly provided herein, shall be deemed to
have been duly given or made when actually delivered or, in the case of notice by facsimile transmission,
when received and telephonically confirmed, addressed as follows:

                (i) If to the Debtors, prior to the Effective Date:

                        Weil, Gotshal & Manges LLP
                        767 Fifth Avenue
                        New York, NY 10153
                        Attn: Ronit Berkovich
                                Jessica Liou
                                F. Gavin Andrews
                        Telephone: (212) 310-8000
                        Facsimile: (212) 310-8007

                                 - and –

                        Richards, Layton & Finger, P.A.
                        One Rodney Square
                        920 N. King Street
                        Wilmington, Delaware 19801
                        Attn: Paul N. Heath
                               Zachary I. Shapiro
                               Matthew P. Milana
                        Telephone: (302) 651-7700
                        Facsimile: (302) 651-7701

                (ii) If to the Wind Down Estates or the Liquidating Plan Administrator, after the Effective
Date:

                        An address to be identified in the Plan Supplement.

                  After the Effective Date, the Debtors have authority to send a notice to Entities that to
continue to receive documents pursuant to Bankruptcy Rule 2002, they must file a renewed request to
receive documents pursuant to Bankruptcy Rule 2002. After the Effective Date, the Debtors are authorized
to limit the list of Entities receiving documents pursuant to Bankruptcy Rule 2002 to those Entities who
have filed such renewed requests.



Dated: June 30, 2024

                                                   By:      /s/ Chris Amani
                                                            Name: Chris Amani
                                                            Title: Head of Company Operations

                                                   TERRAFORM LABS PTE. LTD.




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